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                       EXHIBIT C
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                                Food and Drug Administration, HHS                                                                     § 201.57
                                  Adverse Reactions                                           (5) Any risk information that is required
                                  Drug Interactions                                        under § 201.57(c)(9)(iv) is considered ‘‘appro-
                                  Use in Specific Populations                              priate pediatric contraindications, warnings,
                                Full Prescribing Information: Contents                     or precautions’’ within the meaning of sec-
                                Full Prescribing Information                               tion 505A(l)(2) of the Federal Food, Drug, and
                                  Boxed Warning                                            Cosmetic Act (the act) (21 U.S.C. 355A(l)(2)),
                                  1 Indications and Usage                                  whether such information appears in the
                                  2 Dosage and Administration                              ‘‘Contraindications,’’ ‘‘Warnings and Pre-
                                  3 Dosage Forms and Strengths                             cautions,’’ or ‘‘Use in Specific Populations’’
                                  4 Contraindications                                      section of labeling.
                                  5 Warnings and Precautions                                  (e) Labeling requirements for older prescrip-
                                  6 Adverse Reactions                                      tion drug products. This paragraph applies
                                  7 Drug Interactions                                      only to approved prescription drug products
                                  8 Use in Specific Populations                            not described in paragraph (b)(1) of this sec-
                                    8.1 Pregnancy                                          tion.
                                    8.2 Labor and delivery                                    (1) Prescription drug labeling described in
                                    8.3 Nursing mothers                                    § 201.100(d) must contain the specific infor-
                                    8.4 Pediatric use                                      mation required under § 201.80 under the fol-
                                    8.5 Geriatric use                                      lowing section headings and in the following
                                  9 Drug Abuse and Dependence                              order:
                                    9.1 Controlled substance                                  Description
                                    9.2 Abuse                                                 Clinical Pharmacology
                                    9.3 Dependence
                                                                                              Indications and Usage
                                  10 Overdosage
                                  11 Description                                              Contraindications
                                  12 Clinical Pharmacology                                    Warnings
                                    12.1 Mechanism of action                                  Precautions
                                    12.2 Pharmacodynamics                                     Adverse Reactions
                                    12.3 Pharmacokinetics                                     Drug Abuse and Dependence
                                  13 Nonclinical Toxicology                                   Overdosage
                                    13.1 Carcinogenesis, mutagenesis, impair-                 Dosage and Administration
                                ment of fertility                                             How Supplied
                                    13.2 Animal toxicology and/or pharma-                     (2) The labeling may contain the following
                                cology                                                     additional section headings if appropriate
                                  14 Clinical Studies                                      and if in compliance with § 201.80(l) and (m):
                                  15 References
                                                                                              Animal Pharmacology and/or Animal Toxi-
                                  16 How Supplied/Storage and Handling
                                                                                           cology
                                  17 Patient Counseling Information
                                  (2) Additional nonstandard subheadings                      Clinical Studies
                                that are used to enhance labeling organiza-                   References
                                tion, presentation, or ease of use (e.g., for in-             (3) Omit clearly inapplicable sections, sub-
                                dividual warnings or precautions, or for each              sections, or specific information.
                                drug interaction) must be assigned a decimal                  (4) The labeling may contain a ‘‘Product
                                number that corresponds to their placement                 Title’’ section preceding the ‘‘Description’’
                                in labeling. The decimal numbers must be                   section and containing only the information
                                consistent with the standardized identifying               required      by    § 201.80(a)(1)(i),     (a)(1)(ii),
                                numbers listed in paragraph (d)(1) of this sec-            (a)(1)(iii), and (a)(1)(iv) and § 201.100(e). The
                                tion (e.g., subheadings added to the ‘‘Warn-               information      required    by     § 201.80(a)(1)(i)
                                ings and Precautions’’ section must be num-                through (a)(1)(iv) must appear in the ‘‘De-
                                bered 5.1, 5.2, and so on).                                scription’’ section of the labeling, whether or
                                  (3) Any reference in Highlights to informa-              not it also appears in a ‘‘Product Title.’’
                                tion appearing in the full prescribing infor-                 (5) The labeling must contain the date of
                                mation must be accompanied by the identi-                  the most recent revision of the labeling,
                                fying number (in parentheses) corresponding                identified as such, placed prominently imme-
                                to the location of the information in the full             diately after the last section of the labeling.
                                prescribing information.                                      (6) The requirement in § 201.80(f)(2) to re-
                                  (4) Omit clearly inapplicable sections, sub-             print any FDA-approved patient labeling at
                                sections, or specific information. If sections             the end of prescription drug labeling or ac-
                                or subsections required under paragraph                    company the prescription drug labeling must
                                (d)(1) of this section are omitted from the                be implemented no later than June 30, 2007.
                                full prescribing information, the heading
                                ‘‘Full Prescribing Information: Contents’’                 § 201.57 Specific requirements on con-
                                must be followed by an asterisk and the fol-                   tent and format of labeling for
                                lowing statement must appear at the end of                     human prescription drugs.
                                Contents: ‘‘* Sections or subsections omitted
                                from the full prescribing information are not                 Each section heading listed in
                                listed.’’                                                  § 201.56(d), if not omitted  under

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                                § 201.57                                                                21 CFR Ch. I (4–1–06 Edition)

                                § 201.56(d)(3), shall contain the fol-                     kinetic data in humans are unavail-
                                lowing information in the following                        able, the labeling shall contain a state-
                                order:                                                     ment about the lack of information.
                                   (a) Description. (1) Under this section                    (2) Data that demonstrate activity or
                                heading, the labeling shall contain:                       effectiveness in in vitro or animal tests
                                   (i) The proprietary name and the es-                    and that have not been shown by ade-
                                tablished name, if any, as defined in                      quate and well-controlled clinical stud-
                                section 502(e)(2) of the act, of the drug;                 ies to be pertinent to clinical use may
                                   (ii) The type of dosage form and the                    be included under this section of the la-
                                route of administration to which the                       beling only under the following cir-
                                labeling applies;                                          cumstances:
                                   (iii) The same qualitative and/or                          (i) In vitro data for anti-infective
                                quantitative ingredient information as                     drugs may be included if the data are
                                required under § 201.100(b) for labels;                    immediately preceded by the state-
                                   (iv) If the product is sterile, a state-                ment ‘‘The following in vitro data are
                                ment of that fact;                                         available but their clinical significance
                                   (v) The pharmacological or thera-                       is unknown.’’
                                peutic class of the drug;                                     (ii) For other classes of drugs, in
                                   (vi) The chemical name and struc-                       vitro and animal data that have not
                                tural formula of the drug;                                 been shown by adequate and well-con-
                                   (vii) If the product is radioactive, a
                                                                                           trolled clinical studies, as defined in
                                statement of the important nuclear
                                                                                           § 314.126(b) of this chapter, to be perti-
                                physical characteristics, such as the
                                                                                           nent to clinical use may be used only if
                                principal radiation emission data, ex-
                                                                                           a waiver is granted under § 201.58 or
                                ternal radiation, and physical decay
                                                                                           § 314.126(b) of this chapter.
                                characteristics.
                                                                                              (c) Indications and Usage. (1) Under
                                   (2) If appropriate, other important
                                                                                           this section heading, the labeling shall
                                chemical or physical information, such
                                                                                           state that:
                                as physical constants, or pH, shall be
                                stated.                                                       (i) The drug is indicated in the treat-
                                   (b) Clinical Pharmacology. (1) Under                    ment, prevention, or diagnosis of a rec-
                                this section heading, the labeling shall                   ognized disease or condition, e.g., peni-
                                contain a concise factual summary of                       cillin is indicated for the treatment of
                                the clinical pharmacology and actions                      pneumonia         due    to    susceptible
                                of the drug in humans. The summary                         pneumococci; and/or
                                may include information based on in                           (ii) The drug is indicated for the
                                vitro and/or animal data if the infor-                     treatment, prevention, or diagnosis of
                                mation is essential to a description of                    an important manifestation of a dis-
                                the biochemical and/or physiological                       ease or condition, e.g., chlorothiazide
                                mode of action of the drug or is other-                    is indicated for the treatment of edema
                                wise pertinent to human therapeutics.                      in patients with congestive heart fail-
                                Pharmacokinetic information that is                        ure; and/or
                                important to safe and effective use of                        (iii) The drug is indicated for the re-
                                the drug is required, if known, e.g., de-                  lief of symptoms associated with a dis-
                                gree and rate of absorption, pathways                      ease         or       syndrome,       e.g.,
                                of biotransformation, percentage of                        chlorpheniramine is indicated for the
                                dose as unchanged drug and metabo-                         symptomatic relief of nasal congestion
                                lites, rate or half-time of elimination,                   in patients with vasomotor rhinitis;
                                concentration in body fluids associated                    and/or
                                with therapeutic and/or toxic effects,                        (iv) The drug, if used for a particular
                                degree of binding to plasma proteins,                      indication only in conjuction with a
                                degree of uptake by a particular organ                     primary mode of therapy, e.g., diet,
                                or in the fetus, and passage across the                    surgery, or some other drug, is an ad-
                                blood brain barrier. Inclusion of phar-                    junct to the mode of therapy.
                                macokinetic information is restricted                         (2) All indications shall be supported
                                to that which relates to clinical use of                   by substantial evidence of effectiveness
                                the drug. If the pharmacological mode                      based on adequate and well-controlled
                                of action of the drug is unknown or if                     studies as defined in § 314.126(b) of this
                                important metabolic or pharmaco-                           chapter unless the requirement is

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                                waived under § 201.58 or § 314.126(b) of                   that the drug is effective for that use
                                this chapter.                                              or condition.
                                   (3) This section of the labeling shall                     (v) Any statements comparing the
                                also contain the following additional                      safety or effectiveness, either greater
                                information:                                               or less, of the drug with other agents
                                   (i) If evidence is available to support                 for the same indication shall be sup-
                                the safety and effectiveness of the drug                   ported by adequate and well-controlled
                                only in selected subgroups of the larger                   studies as defined in § 314.126(b) of this
                                population with a disease, syndrome,                       chapter unless this requirement is
                                or symptom under consideration, e.g.,                      waived under § 201.58 or § 314.126(b) of
                                patients with mild disease or patients                     this chapter.
                                in a special age group, the labeling                          (d) Contraindications. Under this sec-
                                shall describe the available evidence                      tion heading, the labeling shall de-
                                and state the limitations of usefulness                    scribe those situations in which the
                                of the drug. The labeling shall also                       drug should not be used because the
                                identify specific tests needed for selec-                  risk of use clearly outweighs any pos-
                                tion or monitoring of the patients who                     sible benefit. These situations include
                                need the drug, e.g., microbe suscepti-                     administration of the drug to patients
                                bility tests. Information on the approx-                   known to have a hypersensitivity to it;
                                imate kind, degree, and duration of im-                    use of the drug in patients who, be-
                                provement to be anticipated shall be                       cause of their particular age, sex, con-
                                stated if available and shall be based                     comitant therapy, disease state, or
                                on substantial evidence derived from                       other condition, have a substantial
                                adequate and well-controlled studies as                    risk of being harmed by it; or contin-
                                defined in § 314.126(b) of this chapter                    ued use of the drug in the face of an un-
                                unless the requirement is waived under                     acceptably hazardous adverse reaction.
                                § 201.58 or § 314.126(b) of this chapter. If               Known hazards and not theoretical pos-
                                                                                           sibilities shall be listed, e.g., if hyper-
                                the information is relevant to the rec-
                                                                                           sensitivity to the drug has not been
                                ommended intervals between doses, the
                                                                                           demonstrated, it should not be listed as
                                usual duration of treatment, or any
                                                                                           a contraindication. If no contraindica-
                                modification of dosage, it shall be stat-
                                                                                           tions are known, this section of the la-
                                ed in the ‘‘Dosage and Administration’’
                                                                                           beling shall state ‘‘None known.’’
                                section of the labeling and referenced
                                                                                              (e) Warnings. Under this section head-
                                in this section.
                                                                                           ing, the labeling shall describe serious
                                   (ii) If safety considerations are such                  adverse reactions and potential safety
                                that the drug should be reserved for                       hazards, limitations in use imposed by
                                certain situations, e.g., cases refrac-                    them, and steps that should be taken if
                                tory to other drugs, this information                      they occur. The labeling shall be re-
                                shall be stated in this section.                           vised to include a warning as soon as
                                   (iii) If there are specific conditions                  there is reasonable evidence of an asso-
                                that should be met before the drug is                      ciation of a serious hazard with a drug;
                                used on a long-term basis, e.g., dem-                      a causal relationship need not have
                                onstration of responsiveness to the                        been proved. A specific warning relat-
                                drug in a short-term trial, the labeling                   ing to a use not provided for under the
                                shall identify the conditions; or, if the                  ‘‘Indications and Usage’’ section of the
                                indications for long-term use are dif-                     labeling may be required by the Food
                                ferent from those for short-term use,                      and Drug Administration if the drug is
                                the labeling shall identify the specific                   commonly prescribed for a disease or
                                indications for each use.                                  condition, and there is lack of substan-
                                   (iv) If there is a common belief that                   tial evidence of effectivenes for that
                                the drug may be effective for a certain                    disease or condition, and such usage is
                                use or if there is a common use of the                     associated with serious risk or hazard.
                                drug for a condition, but the prepon-                      Special problems, particularly those
                                derance of evidence related to the use                     that may lead to death or serious in-
                                or condition shows that the drug is in-                    jury, may be required by the Food and
                                effective, the Food and Drug Adminis-                      Drug Administration to be placed in a
                                tration may require that the labeling                      prominently displayed box. The boxed
                                state that there is a lack of evidence                     warning ordinarily shall be based on

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                                clinical data, but serious animal tox-                       (4)(i) Drug interactions. This sub-
                                icity may also be the basis of a boxed                     section of the labeling shall contain
                                warning in the absence of clinical data.                   specific practical guidance for the phy-
                                If a boxed warning is required, its loca-                  sician on preventing clinically signifi-
                                tion will be specified by the Food and                     cant drug/drug and drug/food inter-
                                Drug Administration. The frequency of                      actions that may occur in vivo in pa-
                                these serious adverse reactions and, if                    tients taking the drug. Specific drugs
                                known, the approximate mortality and                       or classes of drugs with which the drug
                                morbidity rates for patients sustaining                    to which the labeling applies may
                                the reaction, which are important to                       interact in vivo shall be identified, and
                                safe and effective use of the drug, shall                  the mechanism(s) of the interaction
                                be expressed as provided under the                         shall be briefly described. Information
                                ‘‘Adverse Reactions’’ section of the la-                   in this subsection of the labeling shall
                                beling.                                                    be limited to that pertaining to clin-
                                  (f) Precautions. Under this section                      ical use of the drug in patients. Drug
                                heading, the labeling shall contain the                    interactions supported only by animal
                                following subsections as appropriate                       or in vitro experiments may not ordi-
                                for the drug:                                              narily be included, but animal or in
                                  (1) General. This subsection of the la-                  vitro data may be used if shown to be
                                beling shall contain information re-                       clinically relevant. Drug incompati-
                                garding any special care to be exer-                       bilities, i.e., drug interactions that
                                cised by the practitioner for safe and                     may occur when drugs are mixed in
                                effective use of the drug, e.g., pre-                      vitro, as in a solution for intravenous
                                cautions not required under any other                      administration, shall be discussed
                                specific section or subsection of the la-                  under the ‘‘Dosage and Administra-
                                beling.                                                    tion’’ section of the labeling rather
                                  (2) Information for patients. This sub-                  than under this subsection of the label-
                                section of the labeling shall contain in-                  ing.
                                formation to be given to patients for                        (ii) Drug/laboratory test interactions.
                                safe and effective use of the drug, e.g.,                  This subsection of the labeling shall
                                precautions concerning driving or the                      contain practical guidance on known
                                concomitant use of other substances                        interference of the drug with labora-
                                that may have harmful additive ef-                         tory tests.
                                fects. Any printed patient information                       (5) Carcinogenesis, mutagenesis, impair-
                                or Medication Guide required under                         ment of fertility. This subsection of the
                                this chapter to be distributed to the                      labeling shall state whether long-term
                                patient shall be referred to under the                     studies in animals have been performed
                                ‘‘Precautions’’ section of the labeling                    to evaluate carcinogenic potential and,
                                and the full text of such patient infor-                   if so, the species and results. If repro-
                                mation or Medication Guide shall be                        duction studies or other data in ani-
                                reprinted at the end of the labeling.                      mals reveal a problem or potential
                                The print size requirements for the                        problem concerning mutagenesis or im-
                                Medication Guide set forth in § 208.20 of                  pairment of fertility in either males or
                                this chapter, however, do not apply to                     females, the information shall be de-
                                the Medication Guide that is reprinted                     scribed. Any precautionary statement
                                in the professional labeling.                              on these topics shall include practical,
                                  (3) Laboratory tests. This subsection of                 relevant advice to the physician on the
                                the labeling shall identify any labora-                    significance of these animal findings. If
                                tory tests that may be helpful in fol-                     there is evidence from human data that
                                lowing the patient’s response or in                        the drug may be carcinogenic or muta-
                                identifying possible adverse reactions.                    genic or that it impairs fertility, this
                                If appropriate, information shall be                       information shall be included under the
                                provided on such factors as the range                      ‘‘Warnings’’ section of the labeling.
                                of normal and abnormal values ex-                          Also, under ‘‘Precautions,’’ the label-
                                pected in the particular situation and                     ing shall state: ‘‘See ‘Warnings’ section
                                the recommended frequency with                             for information on carcinogenesis,
                                which tests should be done before, dur-                    mutagenesis, and impairment of fer-
                                ing, and after therapy.                                    tility.’’

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                                  (6) Pregnancy. This subsection of the                    adequate and well-controlled studies in
                                labeling may be omitted only if the                        pregnant women. Because animal re-
                                drug is not absorbed systemically and                      production studies are not always pre-
                                the drug is not known to have a poten-                     dictive of human response, this drug
                                tial for indirect harm to the fetus. For                   should be used during pregnancy only
                                all other drugs, this subsection of the                    if clearly needed.’’ If animal reproduc-
                                labeling shall contain the following in-                   tion studies have shown an adverse ef-
                                formation:                                                 fect (other than decrease in fertility),
                                  (i) Teratogenic effects. Under this                      but adequate and well-controlled stud-
                                heading the labeling shall identify one                    ies in pregnant women have failed to
                                of the following categories that applies                   demonstrate a risk to the fetus during
                                to the drug, and the labeling shall bear                   the first trimester of pregnancy (and
                                the statement required under the cat-                      there is no evidence of a risk in later
                                egory:                                                     trimesters), the labeling shall state:
                                  (a) Pregnancy category A. If adequate                    ‘‘Pregnancy Category B. Reproduction
                                and well-controlled studies in pregnant                    studies in (kind(s) of animal(s)) have
                                women have failed to demonstrate a                         shown (describe findings) at (x) times
                                risk to the fetus in the first trimester                   the human dose. Studies in pregnant
                                of pregnancy (and there is no evidence                     women, however, have not shown that
                                of a risk in later trimesters), the label-                 (name of drug) increases the risk of ab-
                                ing shall state: ‘‘Pregnancy Category                      normalities when administered during
                                A. Studies in pregnant women have not                      the first (second, third, or all) tri-
                                shown that (name of drug) increases the                    mester(s) of pregnancy. Despite the
                                risk of fetal abnormalities if adminis-                    animal findings, it would appear that
                                tered during the first (second, third, or                  the possibility of fetal harm is remote,
                                all) trimester(s) of pregnancy. If this                    if the drug is used during pregnancy.
                                drug is used during pregnancy, the pos-                    Nevertheless, because the studies in
                                sibility of fetal harm appears remote.                     humans cannot rule out the possibility
                                Because studies cannot rule out the                        of harm, (name of drug) should be used
                                possibility of harm, however, (name of                     during pregnancy only if clearly need-
                                drug) should be used during pregnancy                      ed.’’ The labeling shall also contain a
                                only if clearly needed.’’ The labeling                     description of the human studies and a
                                shall also contain a description of the                    description of available data on the ef-
                                human studies. If animal reproduction                      fect of the drug on the later growth,
                                studies are available and they fail to                     development, and functional matura-
                                demonstrate a risk to the fetus, the la-                   tion of the child.
                                beling shall also state: ‘‘Reproduction                      (c) Pregnancy category C. If animal re-
                                studies have been performed in (kinds                      production studies have shown an ad-
                                of animal(s)) at doses up to (x) times the                 verse effect on the fetus, if there are no
                                human dose and have revealed no evi-                       adequate and well-controlled studies in
                                dence of impaired fertility or harm to                     humans, and if the benefits from the
                                the fetus due to (name of drug).’’ The                     use of the drug in pregnant women may
                                labeling shall also contain a descrip-                     be acceptable despite its potential
                                tion of available data on the effect of                    risks, the labeling shall state: ‘‘Preg-
                                the drug on the later growth, develop-                     nancy Category C. (Name of drug) has
                                ment, and functional maturation of the                     been shown to be teratogenic (or to
                                child.                                                     have an embryocidal effect or other ad-
                                  (b) Pregnancy category B. If animal re-                  verse effect) in (name(s) of species) when
                                production studies have failed to dem-                     given in doses (x) times the human
                                onstrate a risk to the fetus and there                     dose. There are no adequate and well-
                                are no adequate and well-controlled                        controlled studies in pregnant women.
                                studies in pregnant women, the label-                      (Name of drug) should be used during
                                ing shall state: ‘‘Pregnancy Category                      pregnancy only if the potential benefit
                                B. Reproduction studies have been per-                     justifies the potential risk to the
                                formed in (kind(s) of animal(s)) at doses                  fetus.’’ The labeling shall contain a de-
                                up to (x) times the human dose and                         scription of the animal studies. If there
                                have revealed no evidence of impaired                      are no animal reproduction studies and
                                fertility or harm to the fetus due to                      no adequate and well-controlled studies
                                (name of drug). There are, however, no                     in humans, the labeling shall state:

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                                ‘‘Pregnancy Category C. Animal repro-                      tient should be apprised of the poten-
                                duction studies have not been con-                         tial hazard to the fetus.’’
                                ducted with (name of drug). It is also                       (ii) Nonteratogenic effects. Under this
                                not known whether (name of drug) can                       heading the labeling shall contain
                                cause fetal harm when administered to                      other information on the drug’s effects
                                a pregnant woman or can affect repro-                      on reproduction and the drug’s use dur-
                                duction capacity. (Name of drug) should                    ing pregnancy that is not required spe-
                                be given to a pregnant woman only if                       cifically by one of the pregnancy cat-
                                clearly needed.’’ The labeling shall                       egories, if the information is relevant
                                contain a description of any available                     to the safe and effective use of the
                                data on the effect of the drug on the                      drug. Information required under this
                                later growth, development, and func-                       heading shall include nonteratogenic
                                tional maturation of the child.                            effects in the fetus or newborn infant
                                  (d) Pregnancy category D. If there is                    (for example, withdrawal symptoms or
                                positive evidence of human fetal risk                      hypoglycemia) that may occur because
                                based on adverse reaction data from in-                    of a pregnant woman’s chronic use of
                                vestigational or marketing experience                      the drug for a preexisting condition or
                                or studies in humans, but the potential                    disease.
                                benefits from the use of the drug in                         (7) Labor and delivery. If the drug has
                                pregnant women may be acceptable de-                       a recognized use during labor or deliv-
                                spite its potential risks (for example, if                 ery (vaginal or abdominal delivery),
                                the drug is needed in a life-threatening                   whether or not the use is stated in the
                                situation or serious disease for which                     indications section of the labeling, this
                                safer drugs cannot be used or are inef-                    subsection of the labeling shall de-
                                fective), the labeling shall state:                        scribe the available information about
                                ‘‘Pregnancy Category D. See ‘Warn-                         the effect of the drug on the mother
                                ings’ section.’’ Under the ‘‘Warnings’’                    and the fetus, on the duration of labor
                                section, the labeling states: ‘‘(Name of                   or delivery, on the possibility that for-
                                drug) can cause fetal harm when ad-                        ceps delivery or other intervention or
                                ministered to a pregnant woman.                            resuscitation of the newborn will be
                                (Describe the human data and any perti-                    necessary, and the effect of the drug on
                                nent animal data.) If this drug is used                    the later growth, development, and
                                during pregnancy, or if the patient be-                    functional maturation of the child. If
                                comes pregnant while taking this drug,                     any information required under this
                                the patient should be apprised of the                      subsection is unknown, this subsection
                                potential hazard to the fetus.’’                           of the labeling shall state that the in-
                                  (e) Pregnancy category X. If studies in                  formation is unknown.
                                animals or humans have demonstrated                          (8) Nursing mothers. (i) If a drug is ab-
                                fetal abnormalities or if there is posi-                   sorbed systemically, this subsection of
                                tive evidence of fetal risk based on ad-                   the labeling shall contain, if known, in-
                                verse reaction reports from investiga-                     formation about excretion of the drug
                                tional or marketing experience, or                         in human milk and effects on the nurs-
                                both, and the risk of the use of the                       ing infant. Pertinent adverse effects
                                drug in a pregnant woman clearly out-                      observed in animal offspring shall be
                                weighs any possible benefit (for exam-                     described.
                                ple, safer drugs or other forms of ther-                     (ii) If a drug is absorbed systemically
                                apy are available), the labeling shall                     and is known to be excreted in human
                                state: ‘‘Pregnancy Category X. See                         milk, this subsection of the labeling
                                ‘Contraindications’ section.’’ Under                       shall contain one of the following
                                ‘‘Contraindications,’’ the labeling shall                  statements, as appropriate. If the drug
                                state: ‘‘(Name of drug) may (can) cause                    is associated with serious adverse reac-
                                fetal harm when administered to a                          tions or if the drug has a known
                                pregnant woman. (Describe the human                        tumorigenic potential, the labeling
                                data and any pertinant animal data.)                       shall state: ‘‘Because of the potential
                                (Name of drug) is contraindicated in                       for serious adverse reactions in nursing
                                women who are or may become preg-                          infants from (name of drug) (or, ‘‘Be-
                                nant. If this drug is used during preg-                    cause       of    the     potential     for
                                nancy, or if the patient becomes preg-                     tumorigenicity shown for (name of
                                nant while taking this drug, the pa-                       drug) in (animal or human) studies), a

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                                decision should be made whether to                         the ‘‘Dosage and Administration’’ sec-
                                discontinue nursing or to discontinue                      tion of the labeling. The ‘‘Pediatric
                                the drug, taking into account the im-                      use’’ subsection shall cite any limita-
                                portance of the drug to the mother.’’ If                   tions on the pediatric indication, need
                                the drug is not associated with serious                    for specific monitoring, specific haz-
                                adverse reactions and does not have a                      ards associated with use of the drug in
                                known tumorigenic potential, the la-                       any subsets of the pediatric population
                                beling shall state: ‘‘Caution should be                    (e.g., neonates), differences between pe-
                                exercised when (name of drug) is admin-                    diatric and adult responses to the drug,
                                istered to a nursing woman.’’                              and other information related to the
                                   (iii) If a drug is absorbed system-                     safe and effective pediatric use of the
                                ically and information on excretion in                     drug. Data summarized in this sub-
                                human milk is unknown, this sub-                           section of the labeling should be dis-
                                section of the labeling shall contain                      cussed in more detail, if appropriate,
                                one of the following statements, as ap-                    under the ‘‘Clinical Pharmacology’’ or
                                propriate. If the drug is associated with                  ‘‘Clinical Studies’’ section. As appro-
                                serious adverse reactions or has a                         priate, this information shall also be
                                known tumorigenic potential, the la-                       contained in the ‘‘Contraindications,’’
                                beling shall state: ‘‘It is not known                      ‘‘Warnings,’’ and elsewhere in the
                                whether this drug is excreted in human                     ‘‘Precautions’’ sections.
                                milk. Because many drugs are excreted
                                                                                             (iii) If there are specific statements
                                in human milk and because of the po-
                                                                                           on pediatric use of the drug for an indi-
                                tential for serious adverse reactions in
                                                                                           cation also approved for adults that are
                                nursing infants from (name of drug) (or,
                                                                                           based on adequate and well-controlled
                                ‘‘Because      of    the    potential     for
                                                                                           studies in the pediatric population,
                                tumorigenicity shown for (name of
                                drug) in (animal or human) studies), a                     they shall be summarized in the ‘‘Pe-
                                decision should be made whether to                         diatric use’’ subsection of the labeling
                                discontinue nursing or to discontinue                      and discussed in more detail, if appro-
                                the drug, taking into account the im-                      priate, under the ‘‘Clinical Pharma-
                                portance of the drug to the mother.’’ If                   cology’’ and ‘‘Clinical Studies’’ sec-
                                the drug is not associated with serious                    tions. Appropriate pediatric dosage
                                adverse reactions and does not have a                      shall be given under the ‘‘Dosage and
                                known tumorigenic potential, the la-                       Administration’’ section of the label-
                                beling shall state: ‘‘It is not known                      ing. The ‘‘Pediatric use’’ subsection of
                                whether this drug is excreted in human                     the labeling shall also cite any limita-
                                milk. Because many drugs are excreted                      tions on the pediatric use statement,
                                in human milk, caution should be exer-                     need for specific monitoring, specific
                                cised when (name of drug) is adminis-                      hazards associated with use of the drug
                                tered to a nursing woman.’’                                in any subsets of the pediatric popu-
                                   (9) Pediatric use. (i) Pediatric popu-                  lation (e.g., neonates), differences be-
                                lation(s)/pediatric patient(s): For the                    tween pediatric and adult responses to
                                purposes       of    paragraphs     (f)(9)(ii)             the drug, and other information related
                                through (f)(9)(viii) of this setion, the                   to the safe and effective pediatric use
                                terms pediatric population(s) and pedi-                    of the drug. As appropriate, this infor-
                                atric patient(s) are defined as the pedi-                  mation shall also be contained in the
                                atric age group, from birth to 16 years,                   ‘‘Contraindications,’’ ‘‘Warnings,’’ and
                                including age groups often called neo-                     elsewhere in the ‘‘Precautions’’ sec-
                                nates, infants, children, and adoles-                      tions.
                                cents.                                                       (iv) FDA may approve a drug for pe-
                                   (ii) If there is a specific pediatric in-               diatric use based on adequate and well-
                                dication (i.e., an indication different                    controlled studies in adults, with other
                                from those approved for adults) that is                    information supporting pediatric use.
                                supported by adequate and well-con-                        In such cases, the agency will have
                                trolled studies in the pediatric popu-                     concluded that the course of the dis-
                                lation, it shall be described under the                    ease and the effects of the drug, both
                                ‘‘Indications and Usage’’ section of the                   beneficial and adverse, are sufficiently
                                labeling, and appropriate pediatric dos-                   similar in the pediatric and adult popu-
                                age information shall be given under                       lations to permit extrapolation from

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                                the adult efficacy data to pediatric pa-                   ‘‘Precautions,’’ and ‘‘Dosage and Ad-
                                tients. The additional information sup-                    ministration’’ sections.
                                porting pediatric use must ordinarily                        (v) If the requirements for a finding
                                include data on the pharmacokinetics                       of substantial evidence to support a pe-
                                of the drug in the pediatric population                    diatric indication or a pediatric use
                                for determination of appropriate dos-                      statement have not been met for a par-
                                age. Other information, such as data                       ticular pediatric population, the ‘‘Pe-
                                from pharmacodynamic studies of the                        diatric use’’ subsection of the labeling
                                drug in the pediatric population, data                     shall contain an appropriate statement
                                from other studies supporting the safe-                    such as ‘‘Safety and effectiveness in pe-
                                ty or effectiveness of the drug in pedi-                   diatric patients below the age of (l)
                                atric patients, pertinent premarketing                     have not been established.’’ If use of
                                or postmarketing studies or experi-                        the drug in this pediatric population is
                                ence, may be necessary to show that                        associated with a specific hazard, the
                                the drug can be used safely and effec-                     hazard shall be described in this sub-
                                tively in pediatric patients. When a                       section of the labeling, or, if appro-
                                drug is approved for pediatric use based                   priate, the hazard shall be stated in the
                                on adequate and well-controlled studies                    ‘‘Contraindications’’ or ‘‘Warnings’’
                                in adults with other information sup-                      section of the labeling and this sub-
                                porting pediatric use, the ‘‘Pediatric                     section shall refer to it.
                                use’’ subsection of the labeling shall                       (vi) If the requirements for a finding
                                                                                           of substantial evidence to support a pe-
                                contain either the following statement,
                                                                                           diatric indication or a pediatric use
                                or a reasonable alternative: ‘‘The safe-
                                                                                           statement have not been met for any
                                ty and effectiveness of (drug name) have
                                                                                           pediatric population, this subsection of
                                been established in the age groups l to
                                                                                           the labeling shall contain the following
                                l (note any limitations, e.g., no data
                                                                                           statement: ‘‘Safety and effectiveness in
                                for pediatric patients under 2, or only                    pediatric patients have not been estab-
                                applicable to certain indications ap-                      lished.’’ If use of the drug in premature
                                proved in adults). Use of (drug name) in                   or neonatal infants, or other pediatric
                                these age groups is supported by evi-                      subgroups, is associated with a specific
                                dence from adequate and well-con-                          hazard, the hazard shall be described in
                                trolled studies of (drug name) in adults                   this subsection of the labeling, or, if
                                with additional data (insert wording                       appropriate, the hazard shall be stated
                                that accurately describes the data sub-                    in the ‘‘Contraindications’’ or ‘‘Warn-
                                mitted to support a finding of substan-                    ings’’ section of the labeling and this
                                tial evidence of effectiveness in the pe-                  subsection shall refer to it.
                                diatric population).’’ Data summarized                       (vii) If the sponsor believes that none
                                in the preceding prescribed statement                      of the statements described in para-
                                in this subsection of the labeling shall                   graphs (f)(9)(ii) through (f)(9)(vi) of this
                                be discussed in more detail, if appro-                     section is appropriate or relevant to
                                priate, under the ‘‘Clinical Pharma-                       the labeling of a particular drug, the
                                cology’’ or the ‘‘Clinical Studies’’ sec-                  sponsor shall provide reasons for omis-
                                tion. For example, pediatric pharmaco-                     sion of the statements and may pro-
                                kinetic or pharmacodynamic studies                         pose alternative statement(s). FDA
                                and dose-response information should                       may permit use of an alternative state-
                                be described in the ‘‘Clinical Pharma-                     ment if FDA determines that no state-
                                cology’’ section. Pediatric dosing in-                     ment described in those paragraphs is
                                structions shall be included in the                        appropriate or relevant to the drug’s
                                ‘‘Dosage and Administration’’ section                      labeling and that the alternative state-
                                of the labeling. Any differences be-                       ment is accurate and appropriate.
                                tween pediatric and adult responses,                         (viii) If the drug product contains one
                                need for specific monitoring, dosing ad-                   or more inactive ingredients that
                                justments, and any other information                       present an increased risk of toxic ef-
                                related to safe and effective use of the                   fects to neonates or other pediatric
                                drug in pediatric patients shall be cited                  subgroups, a special note of this risk
                                briefly in the ‘‘Pediatric use’’ sub-                      shall be made, generally in the ‘‘Con-
                                section and, as appropriate, in the                        traindications,’’ ‘‘Warnings,’’ or ‘‘Pre-
                                ‘‘Contraindications,’’      ‘‘Warnings,’’                  cautions’’ section.

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                                  (10) Geriatric use. (i) A specific geri-                   (A) If clinical studies did not include
                                atric indication, if any, that is sup-                     sufficient numbers of subjects aged 65
                                ported by adequate and well-controlled                     and over to determine whether elderly
                                studies in the geriatric population                        subjects respond differently from
                                shall be described under the ‘‘Indica-                     younger subjects, and other reported
                                tions and Usage’’ section of the label-                    clinical experience has not identified
                                ing, and appropriate geriatric dosage                      such differences, the ‘‘Geriatric use’’
                                shall be stated under the ‘‘Dosage and                     subsection shall include the following
                                Administration’’ section of the label-                     statement:
                                ing. The ‘‘Geriatric use’’ subsection                        ‘‘Clinical studies of (name of drug) did not
                                shall cite any limitations on the geri-                    include sufficient numbers of subjects aged
                                atric indication, need for specific moni-                  65 and over to determine whether they re-
                                toring, specific hazards associated with                   spond differently from younger subjects.
                                the geriatric indication, and other in-                    Other reported clinical experience has not
                                                                                           identified differences in responses between
                                formation related to the safe and effec-
                                                                                           the elderly and younger patients. In general,
                                tive use of the drug in the geriatric                      dose selection for an elderly patient should
                                population. Unless otherwise noted, in-                    be cautious, usually starting at the low end
                                formation contained in the ‘‘Geriatric                     of the dosing range, reflecting the greater
                                use’’ subsection of the labeling shall                     frequency of decreased hepatic, renal, or car-
                                pertain to use of the drug in persons 65                   diac function, and of concomitant disease or
                                years of age and older. Data summa-                        other drug therapy.’’
                                rized in this subsection of the labeling                     (B) If clinical studies (including stud-
                                shall be discussed in more detail, if ap-                  ies that are part of marketing applica-
                                propriate, under ‘‘Clinical Pharma-                        tions and other relevant studies avail-
                                cology’’ or the ‘‘Clinical Studies’’ sec-                  able to the sponsor that have not been
                                tion. As appropriate, this information                     submitted in the sponsor’s applica-
                                shall also be contained in ‘‘Contra-                       tions) included enough elderly subjects
                                indications,’’ ‘‘Warnings,’’ and else-                     to make it likely that differences in
                                where in ‘‘Precautions.’’                                  safety or effectiveness between elderly
                                  (ii) Specific statements on geriatric                    and younger subjects would have been
                                use of the drug for an indication ap-                      detected, but no such differences (in
                                proved for adults generally, as distin-                    safety or effectiveness) were observed,
                                guished from a specific geriatric indi-                    and other reported clinical experience
                                cation, shall be contained in the                          has not identified such differences, the
                                ‘‘Geriatric use’’ subsection and shall                     ‘‘Geriatric use’’ subsection shall con-
                                reflect all information available to the                   tain the following statement:
                                sponsor that is relevant to the appro-                       Of the total number of subjects in clinical
                                priate use of the drug in elderly pa-                      studies of (name of drug), l percent were 65
                                tients. This information includes de-                      and over, while l percent were 75 and over.
                                tailed results from controlled studies                     (Alternatively, the labeling may state the
                                that are available to the sponsor and                      total number of subjects included in the
                                pertinent information from well-docu-                      studies who were 65 and over and 75 and
                                                                                           over.) No overall differences in safety or ef-
                                mented studies obtained from a lit-                        fectiveness were observed between these sub-
                                erature search. Controlled studies in-                     jects and younger subjects, and other re-
                                clude those that are part of the mar-                      ported clinical experience has not identified
                                keting application and other relevant                      differences in responses between the elderly
                                studies available to the sponsor that                      and younger patients, but greater sensitivity
                                have not been previously submitted in                      of some older individuals cannot be ruled
                                the investigational new drug applica-                      out.
                                tion, new drug application, biological                       (C) If evidence from clinical studies
                                license application, or a supplement or                    and other reported clinical experience
                                amendment to one of these applica-                         available to the sponsor indicates that
                                tions (e.g., postmarketing studies or                      use of the drug in elderly patients is
                                adverse drug reaction reports). The                        associated with differences in safety or
                                ‘‘Geriatric use’’ subsection shall con-                    effectiveness, or requires specific moni-
                                tain the following statement(s) or rea-                    toring or dosage adjustment, the
                                sonable alternative, as applicable, tak-                   ‘‘Geriatric use’’ subsection of the label-
                                ing into account available information:                    ing shall contain a brief description of

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                                observed differences or specific moni-                     to the labeling of a particular drug, the
                                toring or dosage requirements and, as                      sponsor shall provide reasons for omis-
                                appropriate, shall refer to more de-                       sion of the statements and may pro-
                                tailed discussions in the ‘‘Contra-                        pose an alternative statement. FDA
                                indications,’’ ‘‘Warnings,’’ ‘‘Dosage and                  may permit omission of the statements
                                Administration,’’ or other sections of                     if FDA determines that no statement
                                the labeling.                                              described in those paragraphs is appro-
                                  (iii)(A) If specific pharmacokinetic or                  priate or relevant to the drug’s label-
                                pharmacodynamic studies have been                          ing. FDA may permit use of an alter-
                                carried out in the elderly, they shall be                  native statement if the agency deter-
                                described briefly in the ‘‘Geriatric use’’                 mines that such statement is accurate
                                subsection of the labeling and in detail                   and appropriate.
                                under the ‘‘Clinical Pharmacology’’
                                                                                             (g) Adverse Reactions. An adverse re-
                                section. The ‘‘Clinical Pharmacology’’
                                                                                           action is an undesirable effect, reason-
                                section and ‘‘Drug interactions’’ sub-
                                                                                           ably associated with the use of the
                                section of the ‘‘Precautions’’ section
                                ordinarily contain information on                          drug, that may occur as part of the
                                drug-disease and drug-drug inter-                          pharmacological action of the drug or
                                actions that is particularly relevant to                   may be unpredictable in its occurrence.
                                the elderly, who are more likely to                          (1) This section of the labeling shall
                                have concomitant illness and to utilize                    list the adverse reactions that occur
                                concomitant drugs.                                         with the drug and with drugs in the
                                  (B) If a drug is known to be substan-                    same pharmacologically active and
                                tially excreted by the kidney, the                         chemically related class, if applicable.
                                ‘‘Geriatric use’’ subsection shall in-                       (2) In this listing, adverse reactions
                                clude the statement:                                       may be categorized by organ system,
                                                                                           by severity of the reaction, by fre-
                                  ‘‘This drug is known to be substantially ex-
                                creted by the kidney, and the risk of toxic                quency, or by toxicological mecha-
                                reactions to this drug may be greater in pa-               nism, or by a combination of these, as
                                tients with impaired renal function. Because               appropriate. If frequency information
                                elderly patients are more likely to have de-               from adequate clinical studies is avail-
                                creased renal function, care should be taken               able, the categories and the adverse re-
                                in dose selection, and it may be useful to                 actions within each category shall be
                                monitor renal function.’’
                                                                                           listed in decreasing order of frequency.
                                   (iv) If use of the drug in the elderly                  An adverse reaction that is signifi-
                                appears to cause a specific hazard, the                    cantly more severe than the other re-
                                hazard shall be described in the ‘‘Geri-                   actions listed in a category, however,
                                atric use’’ subsection of the labeling,                    shall be listed before those reactions,
                                or, if appropriate, the hazard shall be                    regardless of its frequency. If frequency
                                stated in the ‘‘Contraindications,’’                       information from adequate clinical
                                ‘‘Warnings,’’ or ‘‘Precautions’’ section                   studies is not available, the categories
                                of the labeling, and the ‘‘Geriatric use’’                 and adverse reactions within each cat-
                                subsection shall refer to those sections.                  egory shall be listed in decreasing
                                   (v)    Labeling    under     paragraphs                 order of severity. The approximate fre-
                                (f)(10)(i) through (f)(10)(iii) of this sec-               quency of each adverse reaction shall
                                tion may include statements, if they                       be expressed in rough estimates or or-
                                would be useful in enhancing safe use                      ders of magnitude essentially as fol-
                                of the drug, that reflect good clinical                    lows: ‘‘The most frequent adverse reac-
                                practice or past experience in a par-                      tion(s) to (name of drug) is (are) (list re-
                                ticular situation, e.g., for a sedating                    actions). This (these) occur(s) in about
                                drug, it could be stated that:                             (e.g., one-third of patients; one in 30
                                  ‘‘Sedating drugs may cause confusion and                 patients; less than one-tenth of pa-
                                over-sedation in the elderly; elderly patients             tients). Less frequent adverse reactions
                                generally should be started on low doses of                are (list reactions), which occur in ap-
                                (name of drug) and observed closely.’’                     proximately (e.g., one in 100 patients).
                                  (vi) If the sponsor believes that none                   Other adverse reactions, which occur
                                of the requirements described in para-                     rarely, in approximately (e.g., one in
                                graphs (f)(10)(i) through (f)(10)(v) of                    1,000 patients), are (list reactions).’’ Per-
                                this section is appropriate or relevant                    cent figures may not ordinarily be used

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                                unless they are documented by ade-                         when available. If human data are un-
                                quate and well-controlled studies as de-                   available, appropriate animal and in
                                fined in § 314.126(b) of this chapter, they                vitro data may be used. Specific infor-
                                are shown to reflect general experi-                       mation shall be provided about the fol-
                                ence, and they do not falsely imply a                      lowing:
                                greater degree of accuracy than actu-                        (1) Signs, symptoms, and laboratory
                                ally exists.                                               findings associated with an overdosage
                                  (3) The ‘‘Warnings’’ section of the la-                  of the drug.
                                beling or, if appropriate, the ‘‘Contra-                     (2) Complications that can occur with
                                indications’’ section of the labeling                      the drug (for example, organ toxicity
                                shall identify any potentially fatal ad-                   or delayed acidosis).
                                verse reaction.                                              (3) Oral LD50 of the drug in animals;
                                  (4) Any claim comparing the drug to                      concentrations of the drug in biologic
                                which the labeling applies with other                      fluids associated with toxicity and/or
                                drugs in terms of frequency, severity,                     death; physiologic variables influ-
                                or character of adverse reactions shall                    encing excretion of the drug, such as
                                be based on adequate and well-con-                         urine pH; and factors that influence
                                trolled studies as defined in § 314.126(b)                 the dose response relationship of the
                                of this chapter unless this requirement                    drug, such as tolerance. The pharmaco-
                                is waived under § 201.58 or § 314.126(b) of                kinetic data given in the ‘‘Clinical
                                this chapter.                                              Pharmacology’’ section also may be
                                  (h) Drug Abuse and Dependence. Under                     referenced here, if applicable to
                                this section heading, the labeling shall                   overdoses.
                                contain the following subsections, as                        (4) The amount of the drug in a single
                                appropriate for the drug:                                  dose that is ordinarily associated with
                                  (1) Controlled Substance. If the drug is                 symptoms of overdosage and the
                                controlled by the Drug Enforcement                         amount of the drug in a single dose
                                Administration, the schedule in which                      that is likely to be life-threatening.
                                it is controlled shall be stated.                            (5) Whether the drug is dialyzable.
                                  (2) Abuse. This subsection of the la-                      (6) Recommended general treatment
                                beling shall be based primarily on                         procedures and specific measures for
                                human data and human experience, but                       support of vital functions, such as
                                pertinent animal data may also be                          proven antidotes, induced emesis, gas-
                                used. This subsection shall state the                      tric lavage, and forced diuresis. Un-
                                types of abuse that can occur with the                     qualified recommendations for which
                                drug and the adverse reactions perti-                      data are lacking with the specific drug
                                nent to them. Particularly susceptible                     or class of drugs, especially treatment
                                patient populations shall be identified.                   using another drug (for example, cen-
                                  (3) Dependence. This subsection of the                   tral nervous system stimulants, res-
                                labeling shall describe characteristic                     piratory stimulants) may not be stated
                                effects resulting from both psycho-                        unless specific data or scientific ra-
                                logical and physical dependence that                       tionale exists to support safe and effec-
                                occur with the drug and shall identify                     tive use.
                                the quantity of the drug over a period                       (j) Dosage and Administration. This
                                of time that may lead to tolerance or                      section of the labeling shall state the
                                dependence, or both. Details shall be                      recommended usual dose, the usual
                                provided on the adverse effects of                         dosage range, and, if appropriate, an
                                chronic abuse and the effects of abrupt                    upper limit beyond which safety and ef-
                                withdrawal. Procedures necessary to                        fectiveness have not been established;
                                diagnose the dependent state shall be                      dosages shall be stated for each indica-
                                provided, and the principles of treating                   tion when appropriate. This section
                                the effects of abrupt withdrawal shall                     shall also state the intervals rec-
                                be described.                                              ommended between doses, the optimal
                                  (i) Overdosage. Under this section                       method of titrating dosage, the usual
                                heading, the labeling shall describe the                   duration of treatment, and any modi-
                                signs, symptoms, and laboratory find-                      fication of dosage needed in special pa-
                                ings of acute overdosage and the gen-                      tient populations, e.g., in children, in
                                eral principles of treatment. This sec-                    geriatric age groups, or in patients
                                tion shall be based on human data,                         with renal or hepatic disease. Specific

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                                tables or monographs may be included                       drug that has been marketed for a long
                                to clarify dosage schedules. Radiation                     time, and in rare cases for a new drug,
                                dosimetry information shall be stated                      chronic animal toxicity studies have
                                for both the patient receiving a radio-                    not been performed or completed for a
                                active drug and the person admin-                          drug that is administered over pro-
                                istering it. This section shall also con-                  longed periods or is implanted in the
                                tain specific direction on dilution,                       body. The unavailability of such data
                                preparation (including the strength of                     shall be stated in the appropriate sec-
                                the final dosage solution, when pre-                       tion of the labeling for the drug. If the
                                pared according to instructions, in                        pertinent animal data cannot be appro-
                                terms of milligrams active ingredient                      priately incorporated into other sec-
                                per milliliter of reconstituted solution,                  tions of the labeling, this section may
                                unless another measure of the strength                     be used.
                                is more appropriate), and administra-
                                                                                              (m) ‘‘Clinical Studies’’ and ‘‘Ref-
                                tion of the dosage form, if needed, e.g.,
                                                                                           erences’’. These sections may appear in
                                the rate of administration of paren-
                                                                                           labeling in the place of a detailed dis-
                                teral drug in milligrams per minute;
                                storage conditions for stability of the                    cussion of a subject that is of limited
                                drug or reconstituted drug, when im-                       interest but nonetheless important. A
                                portant; essential information on drug                     reference to a specific important clin-
                                incompatibilities if the drug is mixed                     ical study may be made in any section
                                in vitro with other drugs; and the fol-                    of the format required under §§ 201.56
                                lowing statement for parenterals:                          and 201.57 if the study is essential to an
                                ‘‘Parenteral drug products should be                       understandable presentation of the
                                inspected visually for particulate mat-                    available information. References may
                                ter and discoloration prior to adminis-                    appear in sections of the labeling for-
                                tration, whenever solution and con-                        mat, other than the ‘‘Clinical Studies’’
                                tainer permit.’’                                           or ‘‘References’’ section, in rare cir-
                                  (k) How Supplied. This section of the                    cumstances only. A clinical study or
                                labeling shall contain information on                      reference may be cited in prescription
                                the available dosage forms to which                        drug labeling only under the following
                                the labeling applies and for which the                     conditions:
                                manufacturer or distributor is respon-                        (1) If the clinical study or reference is
                                sible. The information shall ordinarily                    cited in the labeling in the place of a
                                include:                                                   detailed discussion of data and infor-
                                  (1) The strength of the dosage form,                     mation concerning an indication for
                                e.g., 10-milligram tablets, in metric                      use of the drug, the reference shall be
                                system and, if the apothecary system                       based upon, or the clinical study shall
                                is used, a statement of the strength is                    constitute, an adequate and well-con-
                                placed in parentheses after the metric                     trolled clinical investigation under
                                designation;                                               § 314.126(b) of this chapter.
                                  (2) The units in which the dosage
                                                                                              (2) If the clinical study or reference is
                                form is ordinarily available for pre-
                                                                                           cited in the labeling in the place of a
                                scribing by practitioners, e.g., bottles
                                of 100;                                                    detailed discussion of data and infor-
                                  (3) Appropriate information to facili-                   mation concerning a risk or risks from
                                tate identification of the dosage forms,                   the use of the drug, the risk or risks
                                such as shape, color, coating, scoring,                    shall also be identified or discussed in
                                and National Drug Code; and                                the appropriate section of the labeling
                                  (4) Special handling and storage con-                    for the drug.
                                ditions.                                                   [44 FR 37462, June 26, 1979, as amended at 55
                                  (l) Animal Pharmacology and/or Animal                    FR 11576, Mar. 29, 1990; 59 FR 64249, Dec. 13,
                                Toxicology. In most cases, the labeling                    1994; 62 FR 45325, Aug. 27, 1997; 63 FR 66396,
                                need not include this section. Signifi-                    Dec. 1, 1998]
                                cant animal data necessary for safe and                      EFFECTIVE DATE NOTE: At 71 FR 3988, Jan.
                                effective use of the drug in humans                        24, 2006, § 201.57 was redesignated as § 201.80
                                shall ordinarily be included in one or                     and a new § 201.57 was added, effective June
                                more of the other sections of the label-                   30, 2006. For the convenience of the user, the
                                ing, as appropriate. Commonly for a                        added text is set forth as follows:

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                                Food and Drug Administration, HHS                                                                   § 201.57
                                § 201.57 Specific requirements on content                  stantive labeling changes that have been ap-
                                     and format of labeling for human pre-                 proved by FDA or authorized under
                                     scription drug and biological products                § 314.70(c)(6) or (d)(2), or § 601.12(f)(1) through
                                     described in § 201.56(b)(1).
                                                                                           (f)(3) of this chapter. The heading(s) and, if
                                   The requirements in this section apply                  appropriate, the subheading(s) of the label-
                                only to prescription drug products described               ing section(s) affected by the change must be
                                in § 201.56(b)(1) and must be implemented ac-
                                                                                           listed together with each section’s identi-
                                cording to the schedule specified in
                                                                                           fying number and the date (month/year) on
                                § 201.56(c), except for the requirement in
                                                                                           which the change was incorporated in label-
                                paragraph (c)(18) of this section to reprint
                                any FDA-approved patient labeling at the                   ing. These labeling sections must be listed in
                                end of prescription drug labeling or accom-                the order in which they appear in the full
                                pany the prescription drug labeling, which                 prescribing information. A changed section
                                must be implemented no later than June 30,                 must be listed under this heading in High-
                                2007.                                                      lights for at least 1 year after the date of the
                                   (a) Highlights of prescribing information. The          labeling change and must be removed at the
                                following information must appear in all                   first printing subsequent to the 1 year pe-
                                prescription drug labeling:                                riod.
                                   (1) Highlights limitation statement. The ver-              (6) Indications and usage. A concise state-
                                batim statement ‘‘These highlights do not                  ment of each of the product’s indications, as
                                include all the information needed to use                  required under paragraph (c)(2) of this sec-
                                (insert name of drug product) safely and effec-            tion, with any appropriate subheadings.
                                tively. See full prescribing information for               Major limitations of use (e.g., lack of effect
                                (insert name of drug product).’’                           in particular subsets of the population, or
                                   (2) Drug names, dosage form, route of admin-            second line therapy status) must be briefly
                                istration, and controlled substance symbol. The
                                                                                           noted. If the product is a member of an es-
                                proprietary name and the established name
                                                                                           tablished pharmacologic class, the concise
                                of the drug, if any, as defined in section
                                502(e)(3) of the Federal Food, Drug, and Cos-              statement under this heading in Highlights
                                metic Act (the act) or, for biological prod-               must identify the class in the following man-
                                ucts, the proper name (as defined in § 600.3 of            ner: ‘‘(Drug) is a (name of class) indicated for
                                this chapter) including any appropriate                    (indication(s)).’’
                                descriptors. This information must be fol-                    (7) Dosage and administration. A concise
                                lowed by the drug’s dosage form and route of               summary of the information required under
                                administration. For controlled substances,                 paragraph (c)(3) of this section, with any ap-
                                the controlled substance symbol designating                propriate subheadings, including the rec-
                                the schedule in which the controlled sub-                  ommended dosage regimen, starting dose,
                                stance is listed must be included as required              dose range, critical differences among popu-
                                by § 1302.04 of this chapter.                              lation subsets, monitoring recommenda-
                                   (3) Initial U.S. approval. The verbatim                 tions, and other clinically significant clin-
                                statement ‘‘Initial U.S. Approval’’ followed               ical pharmacologic information.
                                by the four-digit year in which FDA initially                 (8) Dosage forms and strengths. A concise
                                approved a new molecular entity, new bio-                  summary of the information required under
                                logical product, or new combination of ac-                 paragraph (c)(4) of this section, with any ap-
                                tive ingredients. The statement must be                    propriate subheadings (e.g., tablets, capsules,
                                placed on the line immediately beneath the                 injectable,     suspension),      including     the
                                established name or, for biological products,              strength or potency of the dosage form in
                                proper name of the product.                                metric system (e.g., 10-milligram tablets)
                                   (4) Boxed warning. A concise summary of                 and whether the product is scored.
                                any boxed warning required by paragraph                       (9) Contraindications. A concise statement
                                (c)(1) of this section, not to exceed a length
                                                                                           of each of the product’s contraindications, as
                                of 20 lines. The summary must be preceded
                                                                                           required under paragraph (c)(5) of this sec-
                                by a heading, in upper-case letters, con-
                                                                                           tion, with any appropriate subheadings.
                                taining the word ‘‘WARNING’’ and other
                                words that are appropriate to identify the                    (10) Warnings and precautions. A concise
                                subject of the warning. The heading and the                summary of the most clinically significant
                                summary must be contained within a box                     information required under paragraph (c)(6)
                                and bolded. The following verbatim state-                  of this section, with any appropriate sub-
                                ment must be placed immediately following                  headings, including information that would
                                the heading of the boxed warning: ‘‘See full               affect decisions about whether to prescribe a
                                prescribing information for complete boxed                 drug, recommendations for patient moni-
                                warning.’’                                                 toring that are critical to safe use of the
                                   (5) Recent major changes. A list of the sec-            drug, and measures that can be taken to pre-
                                tion(s) of the full prescribing information,               vent or mitigate harm.
                                limited to the labeling sections described in                 (11) Adverse reactions. (i) A list of the most
                                paragraphs (c)(1), (c)(2), (c)(3), (c)(5), and             frequently occurring adverse reactions, as
                                (c)(6) of this section, that contain(s) sub-               described in paragraph (c)(7) of this section,

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                                § 201.57                                                                21 CFR Ch. I (4–1–06 Edition)
                                along with the criteria used to determine in-                 (1) Boxed warning. Certain contraindica-
                                clusion (e.g., incidence rate). Adverse reac-              tions or serious warnings, particularly those
                                tions important for other reasons (e.g., be-               that may lead to death or serious injury,
                                cause they are serious or frequently lead to               may be required by the FDA to be presented
                                discontinuation or dosage adjustment) must                 in a box. The boxed warning ordinarily must
                                not be repeated under this heading in High-                be based on clinical data, but serious animal
                                lights if they are included elsewhere in High-             toxicity may also be the basis of a boxed
                                lights (e.g., Warnings and Precautions, Con-               warning in the absence of clinical data. The
                                traindications).                                           box must contain, in uppercase letters, a
                                   (ii) For drug products other than vaccines,             heading inside the box that includes the
                                the verbatim statement ‘‘To report SUS-                    word ‘‘WARNING’’ and conveys the general
                                PECTED ADVERSE REACTIONS, contact                          focus of the information in the box. The box
                                (insert name of manufacturer) at (insert manu-             must briefly explain the risk and refer to
                                facturer’s phone number) or FDA at (insert                 more detailed information in the ‘‘Contra-
                                current FDA phone number and Web address                   indications’’ or ‘‘Warnings and Precautions’’
                                for voluntary reporting of adverse reactions).’’           section, accompanied by the identifying
                                   (iii) For vaccines, the verbatim statement              number for the section or subsection con-
                                ‘‘To report SUSPECTED ADVERSE REAC-                        taining the detailed information.
                                TIONS, contact (insert name of manufacturer)                  (2) 1 Indications and usage. This section
                                at (insert manufacturer’s phone number) or                 must state that the drug is indicated for the
                                VAERS at (insert the current VAERS phone                   treatment, prevention, mitigation, cure, or
                                number and Web address for voluntary report-               diagnosis of a recognized disease or condi-
                                ing of adverse reactions).’’                               tion, or of a manifestation of a recognized
                                   (iv) For manufacturers with a Web site for              disease or condition, or for the relief of
                                voluntary reporting of adverse reactions, the              symptoms associated with a recognized dis-
                                Web address of the direct link to the site.                ease or condition.
                                   (12) Drug interactions. A concise summary                  (i) This section must include the following
                                of the information required under paragraph                information when the conditions listed are
                                (c)(8) of this section, with any appropriate               applicable:
                                subheadings.                                                  (A) If the drug is used for an indication
                                   (13) Use in specific populations. A concise             only in conjunction with a primary mode of
                                summary of the information required under                  therapy (e.g., diet, surgery, behavior
                                paragraph (c)(9) of this section, with any ap-             changes, or some other drug), a statement
                                propriate subheadings.                                     that the drug is indicated as an adjunct to
                                   (14) Patient counseling information statement.          that mode of therapy.
                                The verbatim statement ‘‘See 17 for Patient                   (B) If evidence is available to support the
                                Counseling Information’’ or, if the product                safety and effectiveness of the drug or bio-
                                has FDA-approved patient labeling, the ver-                logical product only in selected subgroups of
                                batim statement ‘‘See 17 for Patient Coun-                 the larger population (e.g., patients with
                                seling Information and (insert either FDA-                 mild disease or patients in a special age
                                approved patient labeling or Medication                    group), or if the indication is approved based
                                Guide).’’                                                  on a surrogate endpoint under § 314.510 or
                                   (15) Revision date. The date of the most re-            § 601.41 of this chapter, a succinct description
                                cent revision of the labeling, identified as               of the limitations of usefulness of the drug
                                such, placed at the end of Highlights.                     and any uncertainty about anticipated clin-
                                   (b) Full prescribing information: Contents.             ical benefits, with reference to the ‘‘Clinical
                                Contents must contain a list of each heading               Studies’’ section for a discussion of the
                                and subheading required in the full pre-                   available evidence.
                                scribing information under § 201.56(d)(1), if                 (C) If specific tests are necessary for selec-
                                not omitted under § 201.56(d)(4), preceded by              tion or monitoring of the patients who need
                                the identifying number required under                      the drug (e.g., microbe susceptibility tests),
                                § 201.56(d)(1). Contents must also contain any             the identity of such tests.
                                additional subheading(s) included in the full                 (D) If information on limitations of use or
                                prescribing information preceded by the                    uncertainty about anticipated clinical bene-
                                identifying number assigned in accordance                  fits is relevant to the recommended intervals
                                with § 201.56(d)(2).                                       between doses, to the appropriate duration of
                                   (c) Full prescribing information. The full pre-         treatment when such treatment should be
                                scribing information must contain the infor-               limited, or to any modification of dosage, a
                                mation in the order required under para-                   concise description of the information with
                                graphs (c)(1) through (c)(18) of this section,             reference to the more detailed information
                                together with the headings, subheadings, and               in the ‘‘Dosage and Administration’’ section.
                                identifying       numbers      required     under             (E) If safety considerations are such that
                                § 201.56(d)(1),     unless     omitted      under          the drug should be reserved for specific situ-
                                § 201.56(d)(4). If additional subheadings are              ations (e.g., cases refractory to other drugs),
                                used within a labeling section, they must be               a statement of the information.
                                preceded by the identifying number assigned                   (F) If there are specific conditions that
                                in accordance with § 201.56(d)(2).                         should be met before the drug is used on a

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                                Food and Drug Administration, HHS                                                                   § 201.57
                                long term basis (e.g., demonstration of re-                age groups, in groups defined by genetic
                                sponsiveness to the drug in a short term trial             characteristics, or in patients with renal or
                                in a given patient), a statement of the condi-             hepatic disease),
                                tions; or, if the indications for long term use               (I) Important considerations concerning
                                are different from those for short term use,               compliance with the dosage regimen,
                                a statement of the specific indications for                   (J) Efficacious or toxic concentration
                                each use.                                                  ranges and therapeutic concentration win-
                                   (ii) If there is a common belief that the               dows of the drug or its metabolites, if estab-
                                drug may be effective for a certain use or if              lished and clinically significant. Information
                                there is a common use of the drug for a con-               on therapeutic drug concentration moni-
                                dition, but the preponderance of evidence re-              toring (TDM) must also be included in this
                                lated to the use or condition shows that the               section when TDM is necessary.
                                drug is ineffective or that the therapeutic                   (ii) Dosing regimens must not be implied
                                benefits of the product do not generally out-              or suggested in other sections of the labeling
                                weigh its risks, FDA may require that this                 if not included in this section.
                                section state that there is a lack of evidence                (iii) Radiation dosimetry information must
                                that the drug is effective or safe for that use            be stated for both the patient receiving a ra-
                                or condition.                                              dioactive drug and the person administering
                                   (iii) Any statements comparing the safety
                                                                                           it.
                                or effectiveness of the drug with other
                                                                                              (iv) This section must also contain specific
                                agents for the same indication must, except
                                                                                           direction on dilution, preparation (including
                                for biological products, be supported by sub-
                                                                                           the strength of the final dosage solution,
                                stantial evidence derived from adequate and
                                                                                           when prepared according to instructions, in
                                well-controlled      studies   as   defined    in
                                                                                           terms of milligrams of active ingredient per
                                § 314.126(b) of this chapter unless this require-
                                ment is waived under § 201.58 or § 314.126(c) of           milliliter of reconstituted solution, unless
                                this chapter. For biological products, such                another measure of the strength is more ap-
                                statements must be supported by substantial                propriate), and administration of the dosage
                                evidence.                                                  form, if needed (e.g., the rate of administra-
                                   (iv) For drug products other than biologi-              tion of parenteral drug in milligrams per
                                cal products, all indications listed in this               minute; storage conditions for stability of
                                section must be supported by substantial                   the reconstituted drug, when important; es-
                                evidence of effectiveness based on adequate                sential information on drug incompati-
                                and well-controlled studies as defined in                  bilities if the drug is mixed in vitro with
                                § 314.126(b) of this chapter unless the require-           other drugs or diluents; and the following
                                ment is waived under § 201.58 or § 314.126(c) of           verbatim statement for parenterals: ‘‘Paren-
                                this chapter. Indications or uses must not be              teral drug products should be inspected vis-
                                implied or suggested in other sections of the              ually for particulate matter and discolora-
                                labeling if not included in this section.                  tion prior to administration, whenever solu-
                                   (v) For biological products, all indications            tion and container permit.’’)
                                listed in this section must be supported by                   (4) 3 Dosage forms and strengths. This sec-
                                substantial evidence of effectiveness. Indica-             tion must contain information on the avail-
                                tions or uses must not be implied or sug-                  able dosage forms to which the labeling ap-
                                gested in other sections of the labeling if not            plies and for which the manufacturer or dis-
                                included in this section.                                  tributor is responsible, including:
                                   (3) 2 Dosage and administration. (i) This sec-             (i) The strength or potency of the dosage
                                tion must state the recommended dose and,                  form in metric system (e.g., 10 milligram
                                as appropriate:                                            tablets), and, if the apothecary system is
                                   (A) The dosage range,                                   used, a statement of the strength in paren-
                                   (B) An upper limit beyond which safety                  theses after the metric designation; and
                                and effectiveness have not been established,                  (ii) A description of the identifying charac-
                                or beyond which increasing the dose does not               teristics of the dosage forms, including
                                result in increasing effectiveness,                        shape, color, coating, scoring, and imprint-
                                   (C) Dosages for each indication and sub-                ing, when applicable. The National Drug
                                population,                                                Code number(s) for the drug product must
                                   (D) The intervals recommended between                   not be included in this section.
                                doses,                                                        (5) 4 Contraindications. This section must
                                   (E) The optimal method of titrating dos-                describe any situations in which the drug
                                age,                                                       should not be used because the risk of use
                                   (F) The usual duration of treatment when                (e.g., certain potentially fatal adverse reac-
                                treatment duration should be limited,                      tions) clearly outweighs any possible thera-
                                   (G) Dosing recommendations based on clin-               peutic benefit. Those situations include use
                                ical pharmacologic data (e.g., clinically sig-             of the drug in patients who, because of their
                                nificant food effects),                                    particular age, sex, concomitant therapy,
                                   (H) Modification of dosage needed because               disease state, or other condition, have a sub-
                                of drug interactions or in special patient                 stantial risk of being harmed by the drug
                                populations (e.g., in children, in geriatric               and for whom no potential benefit makes the

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                                § 201.57                                                                21 CFR Ch. I (4–1–06 Edition)
                                risk acceptable. Known hazards and not the-                drug, that may occur as part of the pharma-
                                oretical possibilities must be listed (e.g., if            cological action of the drug or may be unpre-
                                severe hypersensitivity to the drug has not                dictable in its occurrence. This definition
                                been demonstrated, it should not be listed as              does not include all adverse events observed
                                a contraindication). If no contraindications               during use of a drug, only those adverse
                                are known, this section must state ‘‘None.’’               events for which there is some basis to be-
                                  (6) 5 Warnings and precautions. (i) General.             lieve there is a causal relationship between
                                This section must describe clinically signifi-             the drug and the occurrence of the adverse
                                cant adverse reactions (including any that                 event.
                                are potentially fatal, are serious even if in-                (i) Listing of adverse reactions. This section
                                frequent, or can be prevented or mitigated
                                                                                           must list the adverse reactions that occur
                                through appropriate use of the drug), other
                                                                                           with the drug and with drugs in the same
                                potential safety hazards (including those
                                                                                           pharmacologically active and chemically re-
                                that are expected for the pharmacological
                                class or those resulting from drug/drug inter-             lated class, if applicable. The list or lists
                                actions), limitations in use imposed by them               must be preceded by the information nec-
                                (e.g., avoiding certain concomitant therapy),              essary to interpret the adverse reactions
                                and steps that should be taken if they occur               (e.g., for clinical trials, total number ex-
                                (e.g., dosage modification). The frequency of              posed, extent and nature of exposure).
                                all clinically significant adverse reactions                  (ii) Categorization of adverse reactions. With-
                                and the approximate mortality and mor-                     in a listing, adverse reactions must be cat-
                                bidity rates for patients experiencing the re-             egorized by body system, by severity of the
                                action, if known and necessary for the safe                reaction, or in order of decreasing frequency,
                                and effective use of the drug, must be ex-                 or by a combination of these, as appropriate.
                                pressed as provided under paragraph (c)(7) of              Within a category, adverse reactions must be
                                this section. In accordance with §§ 314.70 and             listed in decreasing order of frequency. If fre-
                                601.12 of this chapter, the labeling must be               quency information cannot be reliably deter-
                                revised to include a warning about a clini-                mined, adverse reactions must be listed in
                                cally significant hazard as soon as there is               decreasing order of severity.
                                reasonable evidence of a causal association                   (A) Clinical trials experience. This section
                                with a drug; a causal relationship need not                must list the adverse reactions identified in
                                have been definitely established. A specific               clinical trials that occurred at or above a
                                warning relating to a use not provided for                 specified rate appropriate to the safety data-
                                under the ‘‘Indications and Usage’’ section                base. The rate of occurrence of an adverse re-
                                may be required by FDA in accordance with                  action for the drug and comparators (e.g.,
                                sections 201(n) and 502(a) of the act if the               placebo) must be presented, unless such data
                                drug is commonly prescribed for a disease or               cannot be determined or presentation of
                                condition and such usage is associated with                comparator rates would be misleading. If ad-
                                a clinically significant risk or hazard.                   verse reactions that occurred below the spec-
                                  (ii) Other special care precautions. This sec-
                                                                                           ified rate are included, they must be in-
                                tion must contain information regarding any
                                                                                           cluded in a separate listing. If comparative
                                special care to be exercised by the practi-
                                                                                           rates of occurrence cannot be reliably deter-
                                tioner for safe and effective use of the drug
                                                                                           mined (e.g., adverse reactions were observed
                                (e.g., precautions not required under any
                                                                                           only in the uncontrolled trial portion of the
                                other specific section or subsection).
                                  (iii) Monitoring: Laboratory tests. This sec-            overall safety database), adverse reactions
                                tion must identify any laboratory tests help-              must be grouped within specified frequency
                                ful in following the patient’s response or in              ranges as appropriate to the safety database
                                identifying possible adverse reactions. If ap-             for the drug (e.g., adverse reactions occur-
                                propriate, information must be provided on                 ring at a rate of less than 1/100, adverse reac-
                                such factors as the range of normal and ab-                tions occurring at a rate of less than 1/500) or
                                normal values expected in the particular sit-              descriptively identified, if frequency ranges
                                uation and the recommended frequency with                  cannot be determined. For adverse reactions
                                which tests should be performed before, dur-               with significant clinical implications, the
                                ing, and after therapy.                                    listings must be supplemented with addi-
                                  (iv) Interference with laboratory tests. This            tional detail about the nature, frequency,
                                section must briefly note information on any               and severity of the adverse reaction and the
                                known interference by the product with lab-                relationship of the adverse reaction to drug
                                oratory tests and reference the section where              dose and demographic characteristics, if
                                the detailed information is presented (e.g.,               data are available and important.
                                ‘‘Drug Interactions’’ section).                               (B) Postmarketing experience. This section of
                                  (7) 6 Adverse reactions. This section must               the labeling must list the adverse reactions,
                                describe the overall adverse reaction profile              as defined in paragraph (c)(7) of this section,
                                of the drug based on the entire safety data-               that are identified from domestic and foreign
                                base. For purposes of prescription drug label-             spontaneous reports. This listing must be
                                ing, an adverse reaction is an undesirable ef-             separate from the listing of adverse reac-
                                fect, reasonably associated with use of a                  tions identified in clinical trials.

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                                Food and Drug Administration, HHS                                                                   § 201.57
                                   (iii) Comparisons of adverse reactions between          been performed in (kinds of animal(s)) at
                                drugs. For drug products other than biologi-               doses up to (x) times the human dose and
                                cal products, any claim comparing the drug                 have revealed no evidence of impaired fer-
                                to which the labeling applies with other                   tility or harm to the fetus due to (name of
                                drugs in terms of frequency, severity, or                  drug).’’ The labeling must also contain a de-
                                character of adverse reactions must be based               scription of available data on the effect of
                                on adequate and well-controlled studies as                 the drug on the later growth, development,
                                defined in § 314.126(b) of this chapter unless             and functional maturation of the child.
                                this requirement is waived under § 201.58 or                 (2) Pregnancy category B. If animal repro-
                                § 314.126(c) of this chapter. For biological               duction studies have failed to demonstrate a
                                products, any such claim must be based on                  risk to the fetus and there are no adequate
                                substantial evidence.                                      and well-controlled studies in pregnant
                                   (8) 7 Drug interactions. (i) This section must          women, the labeling must state: ‘‘Pregnancy
                                contain a description of clinically significant            Category B. Reproduction studies have been
                                interactions, either observed or predicted,                performed in (kind(s) of animal(s)) at doses up
                                with other prescription or over-the-counter                to (x) times the human dose and have re-
                                drugs, classes of drugs, or foods (e.g., dietary           vealed no evidence of impaired fertility or
                                supplements, grapefruit juice), and specific               harm to the fetus due to (name of drug).
                                practical instructions for preventing or man-              There are, however, no adequate and well-
                                aging them. The mechanism(s) of the inter-                 controlled studies in pregnant women. Be-
                                action, if known, must be briefly described.               cause animal reproduction studies are not al-
                                Interactions that are described in the ‘‘Con-              ways predictive of human response, this drug
                                traindications’’ or ‘‘Warnings and Pre-                    should be used during pregnancy only if
                                cautions’’ sections must be discussed in more              clearly needed.’’ If animal reproduction stud-
                                detail under this section. Details of drug                 ies have shown an adverse effect (other than
                                interaction pharmacokinetic studies that                   decrease in fertility), but adequate and well-
                                are included in the ‘‘Clinical Pharmacology’’              controlled studies in pregnant women have
                                section that are pertinent to clinical use of              failed to demonstrate a risk to the fetus dur-
                                the drug must not be repeated in this sec-                 ing the first trimester of pregnancy (and
                                tion.                                                      there is no evidence of a risk in later tri-
                                   (ii) This section must also contain prac-               mesters), the labeling must state: ‘‘Preg-
                                tical guidance on known interference of the                nancy Category B. Reproduction studies in
                                drug with laboratory tests.                                (kind(s) of animal(s)) have shown (describe
                                   (9) 8 Use in specific populations. This section         findings) at (x) times the human dose. Stud-
                                must contain the following subsections:                    ies in pregnant women, however, have not
                                   (i) 8.1 Pregnancy. This subsection may be               shown that (name of drug) increases the risk
                                omitted only if the drug is not absorbed sys-              of abnormalities when administered during
                                temically and the drug is not known to have                the first (second, third, or all) trimester(s) of
                                a potential for indirect harm to the fetus.                pregnancy. Despite the animal findings, it
                                For all other drugs, this subsection must                  would appear that the possibility of fetal
                                contain the following information:                         harm is remote, if the drug is used during
                                   (A) Teratogenic effects. Under this sub-                pregnancy. Nevertheless, because the studies
                                heading, the labeling must identify one of                 in humans cannot rule out the possibility of
                                the following categories that applies to the               harm, (name of drug) should be used during
                                drug, and the labeling must bear the state-                pregnancy only if clearly needed.’’ The label-
                                ment required under the category:                          ing must also contain a description of the
                                   (1) Pregnancy category A. If adequate and               human studies and a description of available
                                well-controlled studies in pregnant women                  data on the effect of the drug on the later
                                have failed to demonstrate a risk to the                   growth, development, and functional matu-
                                fetus in the first trimester of pregnancy (and             ration of the child.
                                there is no evidence of a risk in later tri-                 (3) Pregnancy category C. If animal repro-
                                mesters), the labeling must state: ‘‘Preg-                 duction studies have shown an adverse effect
                                nancy Category A. Studies in pregnant                      on the fetus, if there are no adequate and
                                women have not shown that (name of drug)                   well-controlled studies in humans, and if the
                                increases the risk of fetal abnormalities if               benefits from the use of the drug in pregnant
                                administered during the first (second, third,              women may be acceptable despite its poten-
                                or all) trimester(s) of pregnancy. If this drug            tial risks, the labeling must state: ‘‘Preg-
                                is used during pregnancy, the possibility of               nancy Category C. (Name of drug) has been
                                fetal harm appears remote. Because studies                 shown to be teratogenic (or to have an
                                cannot rule out the possibility of harm, how-              embryocidal effect or other adverse effect) in
                                ever, (name of drug) should be used during                 (name(s) of species) when given in doses (x)
                                pregnancy only if clearly needed.’’ The label-             times the human dose. There are no ade-
                                ing must also contain a description of the                 quate and well-controlled studies in preg-
                                human studies. If animal reproduction stud-                nant women. (Name of drug) should be used
                                ies are also available and they fail to dem-               during pregnancy only if the potential ben-
                                onstrate a risk to the fetus, the labeling                 efit justifies the potential risk to the fetus.’’
                                must also state: ‘‘Reproduction studies have               The labeling must contain a description of

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                                the animal studies. If there are no animal re-             withdrawal symptoms or hypoglycemia) that
                                production studies and no adequate and well-               may occur because of a pregnant woman’s
                                controlled studies in humans, the labeling                 chronic use of the drug for a preexisting con-
                                must state: ‘‘Pregnancy Category C. Animal                 dition or disease.
                                reproduction studies have not been con-                      (ii) 8.2 Labor and delivery. If the drug has a
                                ducted with (name of drug). It is also not                 recognized use during labor or delivery (vag-
                                known whether (name of drug) can cause fetal               inal or abdominal delivery), whether or not
                                harm when administered to a pregnant                       the use is stated in the Indications and
                                woman or can affect reproduction capacity.                 Usage section, this subsection must describe
                                (Name of drug) should be given to a pregnant               the available information about the effect of
                                woman only if clearly needed.’’ The labeling               the drug on the mother and the fetus, on the
                                must contain a description of any available                duration of labor or delivery, on the possi-
                                data on the effect of the drug on the later                bility that forceps delivery or other inter-
                                growth, development, and functional matu-                  vention or resuscitation of the newborn will
                                ration of the child.                                       be necessary, and the effect of the drug on
                                  (4) Pregnancy category D. If there is positive           the later growth, development, and func-
                                evidence of human fetal risk based on ad-                  tional maturation of the child. If any infor-
                                verse reaction data from investigational or                mation required under this subsection is un-
                                marketing experience or studies in humans,                 known, it must state that the information is
                                but the potential benefits from the use of the             unknown.
                                drug in pregnant women may be acceptable
                                                                                             (iii) 8.3 Nursing mothers. (A) If a drug is ab-
                                despite its potential risks (for example, if
                                                                                           sorbed systemically, this subsection must
                                the drug is needed in a life-threatening situ-
                                                                                           contain, if known, information about excre-
                                ation or serious disease for which safer drugs
                                                                                           tion of the drug in human milk and effects
                                cannot be used or are ineffective), the label-
                                                                                           on the nursing infant. Pertinent adverse ef-
                                ing must state: ‘‘Pregnancy Category D. See
                                                                                           fects observed in animal offspring must be
                                ‘Warnings and Precautions’ section.’’ Under
                                                                                           described.
                                the ‘‘Warnings and Precautions’’ section, the
                                labeling must state: ‘‘(Name of drug) can                    (B) If a drug is absorbed systemically and
                                cause fetal harm when administered to a                    is known to be excreted in human milk, this
                                pregnant woman. (Describe the human data                   subsection must contain one of the following
                                and any pertinent animal data.) If this drug is            statements, as appropriate. If the drug is as-
                                used during pregnancy, or if the patient be-               sociated with serious adverse reactions or if
                                comes pregnant while taking this drug, the                 the drug has a known tumorigenic potential,
                                patient should be apprised of the potential                the labeling must state: ‘‘Because of the po-
                                hazard to a fetus.’’                                       tential for serious adverse reactions in nurs-
                                  (5) Pregnancy category X. If studies in ani-             ing infants from (name of drug) (or, ‘‘Because
                                mals or humans have demonstrated fetal ab-                 of the potential for tumorigenicity shown for
                                normalities or if there is positive evidence of            (name of drug) in (animal or human) studies),
                                fetal risk based on adverse reaction reports               a decision should be made whether to dis-
                                from investigational or marketing experi-                  continue nursing or to discontinue the drug,
                                ence, or both, and the risk of the use of the              taking into account the importance of the
                                drug in a pregnant woman clearly outweighs                 drug to the mother.’’ If the drug is not asso-
                                any possible benefit (for example, safer drugs             ciated with serious adverse reactions and
                                or other forms of therapy are available), the              does not have a known tumorigenic poten-
                                labeling must state: ‘‘Pregnancy Category X.               tial, the labeling must state: ‘‘Caution
                                See ‘Contraindications’ section.’’ Under                   should be exercised when (name of drug) is
                                ‘‘Contraindications,’’ the labeling must                   administered to a nursing woman.’’
                                state: ‘‘(Name of drug) may (can) cause fetal                (C) If a drug is absorbed systemically and
                                harm when administered to a pregnant                       information on excretion in human milk is
                                woman. (Describe the human data and any per-               unknown, this subsection must contain one
                                tinent animal data.) (Name of drug) is contra-             of the following statements, as appropriate.
                                indicated in women who are or may become                   If the drug is associated with serious adverse
                                pregnant. If this drug is used during preg-                reactions or has a known tumorigenic poten-
                                nancy, or if the patient becomes pregnant                  tial, the labeling must state: ‘‘It is not
                                while taking this drug, the patient should be              known whether this drug is excreted in
                                apprised of the potential hazard to a fetus.’’             human milk. Because many drugs are ex-
                                  (B) Nonteratogenic effects. Under this sub-              creted in human milk and because of the po-
                                heading the labeling must contain other in-                tential for serious adverse reactions in nurs-
                                formation on the drug’s effects on reproduc-               ing infants from (name of drug) (or, ‘‘Because
                                tion and the drug’s use during pregnancy                   of the potential for tumorigenicity shown for
                                that is not required specifically by one of the            (name of drug) in (animal or human) studies),
                                pregnancy categories, if the information is                a decision should be made whether to dis-
                                relevant to the safe and effective use of the              continue nursing or to discontinue the drug,
                                drug. Information required under this head-                taking into account the importance of the
                                ing must include nonteratogenic effects in                 drug to the mother.’’ If the drug is not asso-
                                the fetus or newborn infant (for example,                  ciated with serious adverse reactions and

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                                does not have a known tumorigenic poten-                   use’’ subsection of the labeling must contain
                                tial, the labeling must state: ‘‘It is not                 either the following statement or a reason-
                                known whether this drug is excreted in                     able alternative:
                                human milk. Because many drugs are ex-                       The safety and effectiveness of (drug name)
                                creted in human milk, caution should be ex-                have been established in the age groups
                                ercised when (name of drug) is administered                lll to lll (note any limitations, e.g., no
                                to a nursing woman.’’                                      data for pediatric patients under 2, or only
                                  (iv) 8.4 Pediatric use. (A) Pediatric popu-              applicable to certain indications approved in
                                lation(s)/pediatric patient(s): For the pur-               adults). Use of (drug name) in these age
                                poses of paragraphs (c)(9)(iv)(B) through                  groups is supported by evidence from ade-
                                (c)(9)(iv)(H) of this section, the terms pedi-             quate and well-controlled studies of (drug
                                atric population(s) and pediatric patient(s) are           name) in adults with additional data (insert
                                defined as the pediatric age group, from                   wording that accurately describes the data sub-
                                birth to 16 years, including age groups often              mitted to support a finding of substantial evi-
                                called neonates, infants, children, and ado-               dence of effectiveness in the pediatric popu-
                                lescents.                                                  lation).
                                  (B) If there is a specific pediatric indica-               (2) Data summarized in the preceding pre-
                                tion different from those approved for adults              scribed statement in this subsection must be
                                that is supported by adequate and well-con-                discussed in more detail, if appropriate,
                                trolled studies in the pediatric population, it            under the ‘‘Clinical Pharmacology’’ or the
                                must be described under the ‘‘Indications                  ‘‘Clinical Studies’’ section. For example, pe-
                                and Usage’’ section, and appropriate pedi-                 diatric           pharmacokinetic            or
                                atric dosage information must be given                     pharmacodynamic studies and dose response
                                under the ‘‘Dosage and Administration’’ sec-               information should be described in the
                                tion. The ‘‘Pediatric use’’ subsection must                ‘‘Clinical Pharmacology’’ section. Pediatric
                                cite any limitations on the pediatric indica-              dosing instructions must be included in the
                                tion, need for specific monitoring, specific               ‘‘Dosage and Administration’’ section. Any
                                hazards associated with use of the drug in                 differences between pediatric and adult re-
                                any subsets of the pediatric population (e.g.,             sponses, need for specific monitoring, dosing
                                neonates), differences between pediatric and               adjustments, and any other information re-
                                adult responses to the drug, and other infor-              lated to safe and effective use of the drug in
                                mation related to the safe and effective pedi-             pediatric patients must be cited briefly in
                                atric use of the drug. Data summarized in                  the ‘‘Pediatric use’’ subsection and, as appro-
                                this subsection should be discussed in more                priate, in the ‘‘Contraindications,’’ ‘‘Warn-
                                detail, if appropriate, under the ‘‘Clinical               ings and Precautions,’’ and ‘‘Dosage and Ad-
                                Pharmacology’’ or ‘‘Clinical Studies’’ sec-                ministration’’ sections.
                                tion. As appropriate, this information must                  (E) If the requirements for a finding of sub-
                                also be contained in the ‘‘Contraindications’’             stantial evidence to support a pediatric indi-
                                and/or ‘‘Warnings and Precautions’’ sec-                   cation or a pediatric use statement have not
                                tion(s).                                                   been met for a particular pediatric popu-
                                  (C) If there are specific statements on pedi-            lation, the ‘‘Pediatric use’’ subsection must
                                atric use of the drug for an indication also               contain an appropriate statement such as
                                approved for adults that are based on ade-                 ‘‘Safety and effectiveness in pediatric pa-
                                quate and well-controlled studies in the pedi-             tients below the age of (ll) have not been
                                atric population, they must be summarized                  established.’’ If use of the drug in this pedi-
                                in the ‘‘Pediatric use’’ subsection and dis-               atric population is associated with a specific
                                cussed in more detail, if appropriate, under               hazard, the hazard must be described in this
                                the ‘‘Clinical Pharmacology’’ and ‘‘Clinical               subsection, or, if appropriate, the hazard
                                Studies’’ sections. Appropriate pediatric dos-             must be stated in the ‘‘Contraindications’’ or
                                age must be given under the ‘‘Dosage and                   ‘‘Warnings and Precautions’’ section and this
                                Administration’’ section. The ‘‘Pediatric                  subsection must refer to it.
                                use’’ subsection of the labeling must also                   (F) If the requirements for a finding of sub-
                                cite any limitations on the pediatric use                  stantial evidence to support a pediatric indi-
                                statement, need for specific monitoring, spe-              cation or a pediatric use statement have not
                                cific hazards associated with use of the drug              been met for any pediatric population, this
                                in any subsets of the pediatric population                 subsection must contain the following state-
                                (e.g., neonates), differences between pedi-                ment: ‘‘Safety and effectiveness in pediatric
                                atric and adult responses to the drug, and                 patients have not been established.’’ If use of
                                other information related to the safe and ef-              the drug in premature or neonatal infants, or
                                fective pediatric use of the drug. As appro-               other pediatric subgroups, is associated with
                                priate, this information must also be con-                 a specific hazard, the hazard must be de-
                                tained in the ‘‘Contraindications’’ and/or                 scribed in this subsection, or, if appropriate,
                                ‘‘Warnings and Precautions’’ section(s).                   the hazard must be stated in the ‘‘Contra-
                                  (D)(1) When a drug is approved for pedi-                 indications’’ or ‘‘Warnings and Precautions’’
                                atric use based on adequate and well-con-                  section and this subsection must refer to it.
                                trolled studies in adults with other informa-                (G) If the sponsor believes that none of the
                                tion supporting pediatric use, the ‘‘Pediatric             statements      described     in    paragraphs

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                                (c)(9)(iv)(B) through (c)(9)(iv)(F) of this sec-             (1) If clinical studies did not include suffi-
                                tion are appropriate or relevant to the label-             cient numbers of subjects aged 65 and over to
                                ing of a particular drug, the sponsor must                 determine whether elderly subjects respond
                                provide reasons for omission of the state-                 differently from younger subjects, and other
                                ments and may propose alternative state-                   reported clinical experience has not identi-
                                ment(s). FDA may permit use of an alter-                   fied such differences, the ‘‘Geriatric use’’
                                native statement if FDA determines that no                 subsection must include the following state-
                                statement described in those paragraphs is                 ment:
                                appropriate or relevant to the drug’s labeling               Clinical studies of (name of drug) did not
                                and that the alternative statement is accu-                include sufficient numbers of subjects aged
                                rate and appropriate.                                      65 and over to determine whether they re-
                                   (H) If the drug product contains one or                 spond differently from younger subjects.
                                more inactive ingredients that present an in-              Other reported clinical experience has not
                                creased risk of toxic effects to neonates or               identified differences in responses between
                                other pediatric subgroups, a special note of               the elderly and younger patients. In general,
                                this risk must be made, generally in the                   dose selection for an elderly patient should
                                ‘‘Contraindications’’ or ‘‘Warnings and Pre-               be cautious, usually starting at the low end
                                cautions’’ section.                                        of the dosing range, reflecting the greater
                                   (v) 8.5 Geriatric use. (A) A specific geriatric         frequency of decreased hepatic, renal, or car-
                                indication, if any, that is supported by ade-              diac function, and of concomitant disease or
                                quate and well-controlled studies in the geri-             other drug therapy.
                                atric population must be described under the                 (2) If clinical studies (including studies
                                ‘‘Indications and Usage’’ section, and appro-              that are part of marketing applications and
                                priate geriatric dosage must be stated under               other relevant studies available to the spon-
                                the ‘‘Dosage and Administration’’ section.                 sor that have not been submitted in the
                                The ‘‘Geriatric use’’ subsection must cite                 sponsor’s applications) included enough el-
                                any limitations on the geriatric indication,               derly subjects to make it likely that dif-
                                need for specific monitoring, specific hazards             ferences in safety or effectiveness between
                                associated with the geriatric indication, and              elderly and younger subjects would have
                                other information related to the safe and ef-              been detected, but no such differences (in
                                fective use of the drug in the geriatric popu-             safety or effectiveness) were observed, and
                                lation. Unless otherwise noted, information                other reported clinical experience has not
                                contained in the ‘‘Geriatric use’’ subsection              identified such differences, the ‘‘Geriatric
                                must pertain to use of the drug in persons 65              use’’ subsection must contain the following
                                years of age and older. Data summarized in                 statement:
                                this subsection must be discussed in more                    Of the total number of subjects in clinical
                                detail, if appropriate, under ‘‘Clinical Phar-             studies of (name of drug), ll percent were 65
                                macology’’ or the ‘‘Clinical Studies’’ section.            and over, while ll percent were 75 and over.
                                As appropriate, this information must also                 (Alternatively, the labeling may state the
                                be contained in the ‘‘Warnings and Pre-                    total number of subjects included in the
                                cautions’’ and/or ‘‘Contraindications’’ sec-               studies who were 65 and over and 75 and
                                tion(s).                                                   over.) No overall differences in safety or ef-
                                   (B) Specific statements on geriatric use of             fectiveness were observed between these sub-
                                the drug for an indication approved for                    jects and younger subjects, and other re-
                                adults generally, as distinguished from a spe-             ported clinical experience has not identified
                                cific geriatric indication, must be contained              differences in responses between the elderly
                                in the ‘‘Geriatric use’’ subsection and must               and younger patients, but greater sensitivity
                                reflect all information available to the spon-             of some older individuals cannot be ruled
                                sor that is relevant to the appropriate use of             out.
                                the drug in elderly patients. This informa-                  (3) If evidence from clinical studies and
                                tion includes detailed results from con-                   other reported clinical experience available
                                trolled studies that are available to the                  to the sponsor indicates that use of the drug
                                sponsor and pertinent information from well-               in elderly patients is associated with dif-
                                documented studies obtained from a lit-                    ferences in safety or effectiveness, or re-
                                erature search. Controlled studies include                 quires specific monitoring or dosage adjust-
                                those that are part of the marketing applica-              ment, the ‘‘Geriatric use’’ subsection must
                                tion and other relevant studies available to               contain a brief description of observed dif-
                                the sponsor that have not been previously                  ferences or specific monitoring or dosage re-
                                submitted in the investigational new drug                  quirements and, as appropriate, must refer
                                application, new drug application, biologics               to more detailed discussions in the ‘‘Contra-
                                license application, or a supplement or                    indications,’’ ‘‘Warnings and Precautions,’’
                                amendment to one of these applications (e.g.,              ‘‘Dosage and Administration,’’ or other sec-
                                postmarketing studies or adverse drug reac-                tions.
                                tion reports). The ‘‘Geriatric use’’ subsection              (C)(1) If specific pharmacokinetic or
                                must contain the following statement(s) or                 pharmacodynamic studies have been carried
                                reasonable alternative, as applicable, taking              out in the elderly, they must be described
                                into account available information:                        briefly in the ‘‘Geriatric use’’ subsection and

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                                in detail under the ‘‘Clinical Pharmacology’’              them, and must identify particularly suscep-
                                section. The ‘‘Clinical Pharmacology’’ and                 tible patient populations. This subsection
                                ‘‘Drug Interactions’’ sections ordinarily con-             must be based primarily on human data and
                                tain information on drug/disease and drug/                 human experience, but pertinent animal data
                                drug interactions that is particularly rel-                may also be used.
                                evant to the elderly, who are more likely to                  (iii) 9.3 Dependence. This subsection must
                                have concomitant illness and to use con-                   describe characteristic effects resulting from
                                comitant drugs.                                            both psychological and physical dependence
                                  (2) If a drug is known to be substantially               that occur with the drug and must identify
                                excreted by the kidney, the ‘‘Geriatric use’’              the quantity of the drug over a period of
                                subsection must include the statement:                     time that may lead to tolerance or depend-
                                  This drug is known to be substantially ex-               ence, or both. Details must be provided on
                                creted by the kidney, and the risk of adverse              the adverse effects of chronic abuse and the
                                reactions to this drug may be greater in pa-               effects of abrupt withdrawal. Procedures nec-
                                tients with impaired renal function. Because               essary to diagnose the dependent state and
                                elderly patients are more likely to have de-               the principles of treating the effects of ab-
                                creased renal function, care should be taken               rupt withdrawal must be described.
                                in dose selection, and it may be useful to                    (11) 10 Overdosage. This section must be
                                monitor renal function.                                    based on human data. If human data are un-
                                  (D) If use of the drug in the elderly appears            available, appropriate animal and in vitro
                                to cause a specific hazard, the hazard must                data may be used. The following specific in-
                                be described in the ‘‘Geriatric use’’ sub-                 formation must be provided:
                                section, or, if appropriate, the hazard must                  (i) Signs, symptoms, and laboratory find-
                                be stated in the ‘‘Contraindications’’ or                  ings associated with an overdosage of the
                                ‘‘Warnings and Precautions’’ section, and the              drug;
                                ‘‘Geriatric use’’ subsection must refer to                    (ii) Complications that can occur with the
                                those sections.                                            drug (for example, organ toxicity or delayed
                                  (E) Labeling under paragraphs (c)(9)(v)(A)               acidosis);
                                through (c)(9)(v)(C) of this section may in-                  (iii) Concentrations of the drug in biologic
                                clude statements, if they are necessary for                fluids associated with toxicity or death;
                                safe and effective use of the drug, and reflect            physiologic variables influencing excretion
                                good clinical practice or past experience in a             of the drug, such as urine pH; and factors
                                particular situation, e.g., for a sedating                 that influence the dose response relationship
                                drug, it could be stated that:                             of the drug, such as tolerance. The phar-
                                  Sedating drugs may cause confusion and                   macokinetic data given in the ‘‘Clinical
                                over-sedation in the elderly; elderly patients             Pharmacology’’ section also may be ref-
                                generally should be started on low doses of                erenced here, if applicable to overdoses;
                                (name of drug) and observed closely.                          (iv) The amount of the drug in a single
                                  (F) If the sponsor believes that none of the             dose that is ordinarily associated with symp-
                                requirements      described    in   paragraphs             toms of overdosage and the amount of the
                                (c)(9)(v)(A) through (c)(9)(v)(E) of this sec-             drug in a single dose that is likely to be life
                                tion are appropriate or relevant to the label-             threatening;
                                ing of a particular drug, the sponsor must                    (v) Whether the drug is dialyzable; and
                                provide reasons for omission of the state-                    (vi) Recommended general treatment pro-
                                ments and may propose an alternative state-                cedures and specific measures for support of
                                ment. FDA may permit omission of the                       vital functions (e.g., proven antidotes, gas-
                                statements if FDA determines that no state-                tric lavage, forced diuresis, or as per Poison
                                ment described in those paragraphs is appro-               Control Center). Such recommendations
                                priate or relevant to the drug’s labeling.                 must be based on data available for the spe-
                                FDA may permit use of an alternative state-                cific drug or experience with pharmacologi-
                                ment if the agency determines that such                    cally     related   drugs.    Unqualified     rec-
                                statement is accurate and appropriate.                     ommendations for which data are lacking for
                                  (vi) Additional subsections. Additional sub-             the specific drug or class of drugs must not
                                sections may be included, as appropriate, if               be stated.
                                sufficient data are available concerning the                  (12) 11 Description. (i) This section must
                                use of the drug in other specified subpopula-              contain:
                                tions (e.g., renal or hepatic impairment).                    (A) The proprietary name and the estab-
                                  (10) 9 Drug abuse and dependence. This sec-              lished name, if any, as defined in section
                                tion must contain the following information,               502(e)(2) of the act, of the drug or, for biologi-
                                as appropriate:                                            cal products, the proper name (as defined in
                                  (i) 9.1 Controlled substance. If the drug is             § 600.3 of this chapter) and any appropriate
                                controlled by the Drug Enforcement Admin-                  descriptors;
                                istration, the schedule in which it is con-                   (B) The type of dosage form(s) and the
                                trolled must be stated.                                    route(s) of administration to which the la-
                                  (ii) 9.2 Abuse. This subsection must state               beling applies;
                                the types of abuse that can occur with the                    (C) The same qualitative and/or quan-
                                drug and the adverse reactions pertinent to                titative ingredient information as required

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                                § 201.57                                                                21 CFR Ch. I (4–1–06 Edition)
                                under § 201.100(b) for drug labels or §§ 610.60            fect of food, minimum concentration (Cmin),
                                and 610.61 of this chapter for biological prod-            maximum concentration (Cmax), time to max-
                                uct labels;                                                imum concentration (Tmax), area under the
                                  (D) If the product is sterile, a statement of            curve (AUC), pertinent half-lives (t1/2), time
                                that fact;                                                 to reach steady state, extent of accumula-
                                  (E) The pharmacological or therapeutic                   tion, route(s) of elimination, clearance
                                class of the drug;                                         (renal, hepatic, total), mechanisms of clear-
                                  (F) For drug products other than biological              ance (e.g., specific enzyme systems), drug/
                                products, the chemical name and structural                 drug and drug/food (e.g., dietary supple-
                                formula of the drug; and                                   ments, grapefruit juice) pharmacokinetic
                                  (G) If the product is radioactive, a state-              interactions (including inhibition, induction,
                                ment of the important nuclear physical char-               and genetic characteristics), and volume of
                                acteristics, such as the principal radiation               distribution (Vd) must be presented if clini-
                                emission data, external radiation, and phys-               cally significant. Information regarding non-
                                ical decay characteristics.                                linearity in pharmacokinetic parameters,
                                  (ii) If appropriate, other important chem-               changes in pharmacokinetics over time, and
                                ical or physical information, such as phys-                binding (plasma protein, erythrocyte) pa-
                                ical constants or pH, must be stated.                      rameters must also be presented if clinically
                                  (13) 12 Clinical pharmacology. (i) This sec-             significant. This section must also include
                                tion must contain information relating to                  the results of pharmacokinetic studies (e.g.,
                                the human clinical pharmacology and ac-                    of metabolism or interaction) that establish
                                tions of the drug in humans. Pharmacologic                 the absence of an effect, including pertinent
                                information based on in vitro data using                   human studies and in vitro data. Dosing rec-
                                human biomaterials or pharmacologic ani-                   ommendations based on clinically signifi-
                                mal models, or relevant details about in vivo              cant factors that change the product’s phar-
                                study designs or results (e.g., drug inter-                macokinetics (e.g., age, gender, race, hepatic
                                action studies), may be included in this sec-              or renal dysfunction, concomitant therapy)
                                tion if essential to understand dosing or drug             that appear in other sections (e.g., ‘‘Warn-
                                interaction information presented in other                 ings and Precautions,’’ ‘‘Dosage and Admin-
                                sections of the labeling. This section must                istration’’ or ‘‘Use in Specific Populations’’)
                                include the following subsections:                         must not be repeated in this subsection, but
                                  (A) 12.1 Mechanism of action. This sub-                  the location of such recommendations must
                                section must summarize what is known                       be referenced.
                                about the established mechanism(s) of the                    (ii) Data that demonstrate activity or ef-
                                drug’s action in humans at various levels                  fectiveness in in vitro or animal tests and
                                (e.g., receptor, membrane, tissue, organ,                  that have not been shown by adequate and
                                whole body). If the mechanism of action is                 well-controlled clinical studies to be perti-
                                not known, this subsection must contain a                  nent to clinical use may be included under
                                statement about the lack of information.                   this section only under the following cir-
                                  (B) 12.2 Pharmacodynamics. This subsection               cumstances:
                                must include a description of any bio-                       (A) In vitro data for anti-infective drugs
                                chemical or physiologic pharmacologic ef-                  may be included if the data are immediately
                                fects of the drug or active metabolites re-                preceded by the statement ‘‘The following in
                                lated to the drug’s clinical effect in pre-                vitro data are available but their clinical
                                venting, diagnosing, mitigating, curing, or                significance is unknown.’’
                                treating disease, or those related to adverse                (B) For other classes of drugs, in vitro and
                                effects or toxicity. Exposure-response rela-               animal data that have not been shown by
                                tionships (e.g., concentration-response, dose-             adequate and well-controlled studies, as de-
                                response)        and      time     course      of          fined in § 314.126(b) of this chapter, to be nec-
                                pharmacodynamic response (including short-                 essary for the safe and effective use may be
                                term clinical response) must be included if                included in this section only if a waiver is
                                known. If this information is unknown, this                granted under § 201.58 or § 314.126(c) of this
                                subsection must contain a statement about                  chapter.
                                the lack of information. Detailed dosing or                  (14) 13 Nonclinical toxicology. This section
                                monitoring recommendations based on                        must contain the following subsections as
                                pharmacodynamic information that appear                    appropriate:
                                in other sections (e.g., ‘‘Warnings and Pre-                 (i) 13.1 Carcinogenesis, mutagenesis, impair-
                                cautions’’ or ‘‘Dosage and Administration’’)               ment of fertility. This subsection must state
                                must not be repeated in this subsection, but               whether long term studies in animals have
                                the location of such recommendations must                  been performed to evaluate carcinogenic po-
                                be referenced.                                             tential and, if so, the species and results. If
                                  (C) 12.3 Pharmacokinetics. This subsection               results from reproduction studies or other
                                must describe the clinically significant phar-             data in animals raise concern about
                                macokinetics of a drug or active metabo-                   mutagenesis or impairment of fertility in ei-
                                lites, (i.e., pertinent absorption, distribution,          ther males or females, this must be de-
                                metabolism, and excretion parameters). In-                 scribed. Any precautionary statement on
                                formation regarding bioavailability, the ef-               these topics must include practical, relevant

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                                Food and Drug Administration, HHS                                                                   § 201.57
                                advice to the prescriber on the significance                 (17) 16 How supplied/storage and handling.
                                of these animal findings. Human data sug-                  This section must contain information on
                                gesting that the drug may be carcinogenic or               the available dosage forms to which the la-
                                mutagenic, or suggesting that it impairs fer-              beling applies and for which the manufac-
                                tility, as described in the ‘‘Warnings and                 turer or distributor is responsible. The infor-
                                Precautions’’ section, must not be included                mation must include, as appropriate:
                                in this subsection of the labeling.                          (i) The strength or potency of the dosage
                                   (ii) 13.2 Animal toxicology and/or pharma-              form in metric system (e.g., 10 milligram
                                cology. Significant animal data necessary for              tablets) and, if the apothecary system is
                                safe and effective use of the drug in humans               used, a statement of the strength in paren-
                                that is not incorporated in other sections of              theses after the metric designation;
                                labeling must be included in this section                    (ii) The units in which the dosage form is
                                (e.g., specifics about studies used to support             ordinarily available for prescribing by prac-
                                approval under § 314.600 or § 601.90 of this               titioners (e.g., bottles of 100);
                                chapter, the absence of chronic animal tox-                  (iii) Appropriate information to facilitate
                                icity data for a drug that is administered                 identification of the dosage forms, such as
                                over prolonged periods or is implanted in the              shape, color, coating, scoring, imprinting,
                                body).                                                     and National Drug Code number; and
                                   (15) 14 Clinical studies. This section must               (iv) Special handling and storage condi-
                                discuss those clinical studies that facilitate             tions.
                                                                                             (18) 17 Patient counseling information. This
                                an understanding of how to use the drug
                                                                                           section must contain information necessary
                                safely and effectively. Ordinarily, this sec-
                                                                                           for patients to use the drug safely and effec-
                                tion will describe the studies that support ef-
                                                                                           tively (e.g., precautions concerning driving
                                fectiveness for the labeled indication(s), in-
                                                                                           or the concomitant use of other substances
                                cluding discussion of study design, popu-
                                                                                           that may have harmful additive effects). Any
                                lation, endpoints, and results, but must not
                                                                                           FDA-approved patient labeling must be ref-
                                include an encyclopedic listing of all, or even
                                                                                           erenced in this section and the full text of
                                most, studies performed as part of the prod-
                                                                                           such patient labeling must be reprinted im-
                                uct’s clinical development program. If a spe-              mediately following this section or, alter-
                                cific important clinical study is mentioned                natively, accompany the prescription drug
                                in any section of the labeling required under              labeling. Any FDA-approved patient labeling
                                §§ 201.56 and 201.57 because the study is essen-           printed immediately following this section
                                tial to an understandable presentation of the              or accompanying the labeling is subject to
                                information in that section of the labeling,               the type size requirements in paragraph
                                any detailed discussion of the study must ap-              (d)(6) of this section, except for a Medication
                                pear in this section.                                      Guide to be detached and distributed to pa-
                                   (i) For drug products other than biological             tients in compliance with § 208.24 of this
                                products, any clinical study that is discussed             chapter. Medication Guides for distribution
                                in prescription drug labeling that relates to              to patients are subject to the type size re-
                                an indication for or use of the drug must be               quirements set forth in § 208.20 of this chap-
                                adequate and well-controlled as described in               ter.
                                § 314.126(b) of this chapter and must not                    (d) Format requirements. All labeling infor-
                                imply or suggest indications or uses or dos-               mation required under paragraphs (a), (b),
                                ing regimens not stated in the ‘‘Indications               and (c) of this section must be printed in ac-
                                and Usage’’ or ‘‘Dosage and Administration’’               cordance with the following specifications:
                                section. For biological products, any clinical               (1) All headings and subheadings required
                                study that is discussed that relates to an in-             by paragraphs (a) and (c) of this section must
                                dication for or use of the biological product              be highlighted by bold type that prominently
                                must constitute or contribute to substantial               distinguishes the headings and subheadings
                                evidence and must not imply or suggest indi-               from other labeling information. Reverse
                                cations or uses or dosing regimens not stated              type is not permitted as a form of high-
                                in the ‘‘Indications and Usage’’ or ‘‘Dosage               lighting.
                                and Administration’’ section.                                (2) A horizontal line must separate the in-
                                   (ii) Any discussion of a clinical study that            formation required by paragraphs (a), (b),
                                relates to a risk from the use of the drug                 and (c) of this section.
                                must also refer to the other sections of the                 (3) The headings listed in paragraphs (a)(5)
                                labeling where the risk is identified or dis-              through (a)(13) of this section must be pre-
                                cussed.                                                    sented in the center of a horizontal line.
                                   (16) 15 References. When prescription drug                (4) If there are multiple subheadings listed
                                labeling must summarize or otherwise rely                  under paragraphs (a)(4) through (a)(13) of
                                on a recommendation by an authoritative                    this section, each subheading must be pre-
                                scientific body, or on a standardized method-              ceded by a bullet point.
                                ology, scale, or technique, because the infor-               (5) The labeling information required by
                                mation is important to prescribing decisions,              paragraphs (a)(1) through (a)(4), (a)(11)(ii)
                                the labeling may include a reference to the                through (a)(11)(iv), and (a)(14) of this section
                                source of the information.                                 must be in bold print.

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                                § 201.57                                                                21 CFR Ch. I (4–1–06 Edition)
                                   (6) The letter height or type size for all la-          and well-controlled studies as defined in
                                beling information, headings, and sub-                     § 314.126(b) of this chapter unless the require-
                                headings set forth in paragraphs (a), (b), and             ment is waived under § 201.58 or § 314.126(c) of
                                (c) of this section must be a minimum of 8                 this chapter. Indications or uses must not be
                                points, except for labeling information that               implied or suggested in other sections of la-
                                is on or within the package from which the                 beling if not included in this section.
                                drug is to be dispensed, which must be a min-                 (ii) For biological products, all indications
                                imum of 6 points.                                          listed in this section must be supported by
                                   (7) The identifying numbers required by
                                                                                           substantial evidence of effectiveness. Indica-
                                § 201.56(d) and paragraphs (c)(1) through
                                                                                           tions or uses must not be implied or sug-
                                (c)(18) of this section must be presented in
                                bold print and must precede the heading or                 gested in other sections of labeling if not in-
                                subheading by at least two square em’s (i.e.,              cluded in this section.
                                two squares of the size of the letter ‘‘m’’ in
                                8 point type).                                                   *        *        *         *        *
                                   (8) The information required by paragraph
                                (a) of this section, not including the informa-              (f) * * *
                                tion required under paragraph (a)(4) of this                 (2) Information for patients. This subsection
                                section, must be limited in length to an                   must contain information necessary for pa-
                                amount that, if printed in 2 columns on a                  tients to use the drug safely and effectively
                                standard sized piece of typing paper (8 1/2 by             (e.g., precautions concerning driving or the
                                11 inches), single spaced, in 8 point type with            concomitant use of other substances that
                                1/2-inch margins on all sides and between col-             may have harmful additive effects). Any
                                umns, would fit on one-half of the page.                   FDA-approved patient labeling must be ref-
                                   (9) Sections or subsections of labeling that            erenced in this section and the full text of
                                are identified as containing recent major                  such patient labeling must be reprinted im-
                                changes under paragraph (a)(5) of this sec-
                                                                                           mediately following the last section of label-
                                tion must be highlighted in the full pre-
                                                                                           ing or, alternatively, accompany the pre-
                                scribing information by the inclusion of a
                                                                                           scription drug labeling. The type size re-
                                vertical line on the left edge of the new or
                                modified text.                                             quirement for the Medication Guide set forth
                                   (10) For the information required by para-              in § 208.20 of this chapter does not apply to
                                graph (b) of this section, each section head-              the Medication Guide that is reprinted in or
                                ing must be in bold print. Each subheading                 accompanying the prescription drug labeling
                                within a section must be indented and not                  unless such Medication Guide is to be de-
                                bolded.                                                    tached and distributed to patients in compli-
                                                                                           ance with § 208.24 of this chapter.
                                   EFFECTIVE DATE NOTE: At 71 FR 3996, Jan.
                                24, 2006, newly redesignated § 201.80 was
                                amended by                                                       *        *        *         *        *
                                   a. Revising the section heading;
                                   b. Amending paragraphs (b)(2)(ii), (c)(3)(i),             (j) Dosage and administration. * * * Dosing
                                (c)(3)(v), and (g)(4) by removing the phrase               regimens must not be implied or suggested
                                ‘‘§ 314.126(b)’’ the second time it appears and            in other sections of labeling if not included
                                by adding in its place the phrase                          in this section. * * *
                                ‘‘§ 314.126(c)’’;
                                   c. Removing the phrase ‘‘induced emesis,’’
                                                                                                 *        *        *         *        *
                                in paragraph (i)(6);
                                   d. Revising paragraphs (c)(2), (f)(2), and                 (m) * * *
                                (m)(1); and                                                   (1)(i) If the clinical study is cited in the la-
                                   e. Adding a new sentence after the first                beling in place of a detailed discussion of
                                sentence of paragraph (j), effective June 30,              data and information concerning an indica-
                                2006. For the convenience of the user, the re-             tion for use of the drug, the clinical study
                                vised and added text is set forth as follows:              must constitute an adequate and well-con-
                                § 201.80 Specific requirements on content                  trolled study as described in § 314.126(b) of
                                    and format of labeling for human pre-                  this chapter, except for biological products,
                                    scription drug and biological products;                and must not imply or suggest indications or
                                    older     drugs  not    described   in                 uses or dosing regimens not stated in the
                                    § 201.56(b)(1).
                                                                                           ‘‘Indications and Usage’’ or ‘‘Dosage and Ad-
                                                                                           ministration’’ section.
                                       *         *         *        *          *              (ii) When prescription drug labeling must
                                  (c) * * *                                                summarize or otherwise rely on a rec-
                                  (2)(i) For drug products other than biologi-             ommendation by an authoritative scientific
                                cal products, all indications listed in this               body, or on a standardized methodology,
                                section must be supported by substantial                   scale, or technique, because the information
                                evidence of effectiveness based on adequate

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                                Food and Drug Administration, HHS                                                                                                                         § 201.59
                                is important to prescribing decisions, the la-                                             writing by the Director or the Director’s des-
                                beling may include a reference to the source                                               ignee.
                                of the information.
                                                                                                                           § 201.59 Effective date of §§ 201.56,
                                                                                                                                201.57, 201.100(d)(3), and 201.100(e).
                                        *             *               *               *                *
                                                                                                                              (a) On and after December 26, 1979, no
                                § 201.58 Requests for waiver of re-                                                        person may initially introduce or ini-
                                    quirement for adequate and well-                                                       tially deliver for introduction into
                                    controlled studies to substantiate                                                     interstate commerce any drug to which
                                    certain labeling statements.                                                           §§ 201.56, 201.57, 201.100(d)(3) apply unless
                                   A request under § 201.57(b)(2)(ii),                                                     the drug’s labeling complies with the
                                (c)(2), (c)(3)(i), (c)(3)(v), (f)(9), and (g)(4)                                           requirements set forth in the regula-
                                for a waiver of the requirements of                                                        tions, with the following exceptions:
                                § 314.126(b) of this chapter shall be sub-                                                    (1) If the drug is a prescription drug
                                mitted in writing as provided in                                                           that is not a biologic and not subject
                                § 314.126(b) to the Director, Center for                                                   to section 505 of the act (21 U.S.C. 355),
                                Drug Evaluation and Research, Food                                                         and was not subject to former section
                                and Drug Administration, 5600 Fishers                                                      507 of the act (21 U.S.C. 357, repealed
                                Lane, Rockville, MD 20857, or, if appli-                                                   1997), §§ 201.56, 201.57, and 201.100(d)(3)
                                cable, the Director, Center for Bio-                                                       are effective on April 10, 1981.
                                logics Evaluation and Research, Food                                                          (2) If the drug is a prescription drug
                                and Drug Administration, 1401 Rock-                                                        that on December 26, 1979 is (i) a li-
                                ville Pike, suite 200N, Rockville, MD                                                      censed biologic, (ii) a new drug subject
                                20852–1448. The waiver shall be granted                                                    to an approved new drug application or
                                or denied in writing by such Director                                                      abbreviated new drug application under
                                or the Director’s designee.                                                                section 505 of the act or (iii) an anti-
                                                                                                                           biotic drug subject to an approved anti-
                                [55 FR 11576, Mar. 29, 1990, as amended at 70
                                                                                                                           biotic form, §§ 201.56, 201.57, and
                                FR 14980, Mar. 24, 2005]
                                                                                                                           201.100(d)(3) are effective on the date
                                  EFFECTIVE DATE NOTE: At 71 FR 3996, Jan.                                                 listed below for the class of drugs to
                                24, 2006, § 201.58 was revised, effective June 30,                                         which the drug belongs. Dates are also
                                2006. For the convenience of the user, the re-                                             listed below for the submission of sup-
                                vised text is set forth as follows:
                                                                                                                           plemental applications, amendments,
                                § 201.58 Waiver of labeling requirements.                                                  and license changes.
                                   An applicant may ask the Food and Drug                                                     (3) If the drug is approved after De-
                                Administration to waive any requirement                                                    cember 26, 1979 but is a duplicate of a
                                under §§ 201.56, 201.57, and 201.80. A waiver re-                                          drug approved on or before that date
                                quest must be submitted in writing to the                                                  (for example, a drug approved under an
                                Director (or the Director’s designee), Center                                              abbreviated new drug application or an
                                for Drug Evaluation and Research, Food and                                                 antibiotic form), §§ 201.56, 201.57, and
                                Drug Administration, 5600 Fishers Lane,                                                    201.100(d)(3) are effective on the date
                                Rockville, MD 20857, or, if applicable, the Di-
                                                                                                                           listed below for the class of drugs to
                                rector (or the Director’s designee), Center for
                                Biologics Evaluation and Research, Food and                                                which the drug belongs. Dates are also
                                Drug Administration, 1401 Rockville Pike,                                                  listed below for the submission of sup-
                                suite 200 North, Rockville, MD 20852–1448.                                                 plemental applications, amendments,
                                The waiver must be granted or denied in                                                    and license changes.
                                                    Revised label-
                                   Effective                                                                      Drug class                                                     Mail routing code
                                                      ing due

                                                                                                                BIOLOGICS

                                Nov. 1, 1982        Nov. 1, 1980           Bacterial vaccines and antigens with no U.S. standard of po-                                      HFB–240
                                                                             tency.
                                    Do ..........   ......do ...........   Skin test antigens ...........................................................................    HFB–240
                                Nov. 1, 1982 1      Nov. 1, 1980 2         Bacteral vaccines and toxoids with standards of potency. ............                             HFB–240
                                    Do ..........   ......do ...........   Viral and rickettsial vaccines ..........................................................         HFB–240
                                    Do ..........   ......do ...........   Allergenic extracts ..........................................................................    HFB–240
                                    Do ..........   ......do ...........   Blood and blood derivatives ...........................................................           HFB–240

                                                                                              NEW DRUGS AND ANTIBIOTIC DRUGS

                                Nov. 1, 1982        Nov. 1, 1980           Antiarrhythmics ...............................................................................   HFD–110


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